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                  agreement because they’re hard to structure. But, you know, we
                  did it because that’s what they wanted. And, so, if there would
                  have been any upside, [ResCap] would have gotten it. And because
                  it needed to be a true sale, we [i.e., GMAC CF] couldn’t build
                  any—in any downside protection for us. So, it was extremely one
                  sided to—so, there’s no way that deal could have been a bad deal
                  for ResCap.2341

     Although the First Amendment including the profit-sharing clause was adopted, Voss
expressed her doubts that any deferred purchase price would be payable to ResCap:

                  We felt that it was extremely overvalued when we bought it. The
                  purchase document did include a mechanism, whereby, if we sold
                  it for—if we sold it externally for more than we bought it from
                  Resort, that ResCap would get, you know, some portion of the
                  upside . . . So, we bought it at 82 percent and we sold it at around
                  65 percent. So, during the period of time [GMAC CF] owned it,
                  we lost about $340 million.2342

    The First Amendment calculated the $96.1 million purchase price by employing an Asset-
Based Approach approach, as depicted in the following table:2343




2341 Id. at 77:18–78:6.

2342 Id. at 77:9–15, 78:14–17.

2343 First Amendment to APA, at Ex. A [ALLY_0130062].



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     As a result of the purchase price established by the First Amendment, RFC returned
$153.9 million of the $250 million deposit, netting $96.1 million. However, ResCap later
announced in its public filings a total transaction value of $111.1 million, stating, “[t]his
purchase price represents the net asset value of the business, appraised by a third-party.”2344
The revised number reported in ResCap’s public filings modified the $96.1 million cash
purchase price for an unspecified $15 million error in the Houlihan Lokey report after it was
reviewed by ResCap and AFI management.2345 ResCap’s auditors noted in their workpapers
that the $15 million adjustment was made for “liabilities mistakenly left out of third party
valuation.”2346

     The First Amendment does not explicitly attribute the calculation of the $96.1 million
based on the 82% mark to Houlihan Lokey, though the public filings continued to refer to a
third-party valuation. If the calculation was indeed intended to be derived based on Houlihan
Lokey’s Asset-Based Approach, which is where the 82% mark appears to originate,2347 then
there appear to be two errors—not just one—in the purchase price calculation used in the First
Amendment. Taking both errors into consideration would have resulted in a modified
purchase price of $108.3 million, rather than $111.1 million (see discussion below for further
detail).

      Morgan Stanley delivered a fairness opinion dated July 30, 2008 to the ResCap Board
that the transaction at $96.1 million was fair from a financial point of view to the sellers. The
fairness opinion disclosed that Robert Scully, a member of the Office of the Chairman and a
Managing Director of Morgan Stanley, was serving as a member of the AFI Board, bringing
into question Morgan Stanley’s independence relative to this transaction.2348 There do not
appear to have been any independent financial advisors to any of the parties.




2344 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 16.

2345 See ResCap STM, Resort Finance True-Up SOPA, at EXAM00220464 [EXAM00220463].

2346 Resort  Finance Net Assets, dated June 30, 2008 [PWC09192]. Had the $15 million in liabilities been
    included in the calculation per the First Amendment, the purchase price would have been $15 million lower
    (i.e., $96.1 million less $15 million). However, the purchase price was set at $96.1 million, and that is what
    ResCap received. Afterward, it appears that ResCap discovered it still had the $15 million in liabilities on its
    books and that AFI either assumed the debt or paid ResCap an addition $15 million, thus creating the $15
    million gain that increased total consideration from $96.1 million to $111.1 million per ResCap’s SEC
    filings. Documentation confirming that RFC received the additional $15 million in consideration was not
    produced for review in the Investigation.
2347 See Houlihan Lokey Valuation Analysis of Resort Finance as of June 30, 2008, dated July 24, 2008, at 34

    [ALLY_0102229].
2348 Opinion Letter from Morgan Stanley to the Board of Directors of ResCap (July 30, 2008) [RC00028114].



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     The following diagram summarizes the value exchanged between RFC and GMAC CF in
the Resort Finance Sale.




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                 (3) Third-Party Conclusion Of Value

    Although Houlihan Lokey’s conclusion of value was not ultimately adopted, it appears
from ResCap’s SEC filings and the calculation of the purchase price under the First
Amendment that Houlihan Lokey’s Asset-Based Approach was considered in establishing the
82% mark used in the calculation of the $96.1 million purchase price.

     Appendix V.F.4.c(3) provides a summary of Houlihan Lokey’s conclusion of value and
key assumptions. In summary, Houlihan Lokey developed a range of Fair Market Value for
the net transferred assets (assets less assumed obligations) based on two approaches: the
Guideline Publicly Traded Company Method under the Market Approach and the Adjusted
Book Value Method under the Asset-Based Approach.

      Houlihan Lokey calculated a range of enterprise values for each approach employed and
then averaged the low and high values from each approach to determine a range of $1.174
billion to $1.222 billion. After adding cash of $1.4 million, and subtracting obligations of
$375.0 million related to a Deutsche Bank facility and $750.0 million related to an AFI
facility, the resulting range of value for the net transferred assets was $50.7 million to $98.6
million. Houlihan Lokey selected the midpoint, or $74.6 million, as its conclusion of the Fair
Market Value of the net transferred assets of the Resort Finance business.2349 Resort Finance’s
net book value totaled $349.2 million as of the valuation date, implying a 0.21x book value
multiple to Houlihan Lokey’s concluded Fair Market Value.

                 (4) Analysis Of Third-Party Conclusion Of Fair Market Value

    As discussed in greater detail below, the Examiner’s Financial Advisors consider
Houlihan Lokey’s Adjusted Book Value Method, upon which the 82% mark appears to have
been based, to be a reliable indicator of the Fair Market Value of Resort Finance. The
Examiner’s Financial Advisors do not consider Houlihan Lokey’s Guideline Publicly Traded
Company Method to be a reliable indicator of Fair Market Value.

                     (a) Guideline Publicly Traded Company Method

     The Guideline Publicly Traded Company Method used by Houlihan Lokey considered
three multiples: Annualized P/E,2350 P/NBV, and EV/TA. Although the Annualized P/E and
P/NBV multiples are commonly considered when valuing a financial services company such
as Resort Finance, the use of an EV multiple, such as EV/TA, is questionable. When valuing




2349 See Houlihan Lokey Valuation Analysis of Resort Finance as of June 30, 2008, dated July 24, 2008, at 3

   [ALLY_0102229].
2350 Or “Net Income.” Houlihan Lokey annualized the net income for the six months year-to-date for the period

   ending June 30, 2008. See Houlihan Lokey Valuation Analysis of Resort Finance as of June 30, 2008, dated
   July 24, 2008, at 30 [ALLY_0102229].

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the equity of financial firms, analysts generally employ methods that directly measure equity
value, such as through the P/E and P/NBV multiples, rather than trying to define and quantify
EV, such as through the EV/TA multiple. Debt funding is an integral part of the business
operations of such companies, which is a key justification for preferring equity multiples over
EV multiples.

     Houlihan Lokey selected four guideline companies in applying the Guideline Publicly
Traded Company Method and selected multiples near and in some cases below the lowest data
point of the indicated range.2351 Houlihan Lokey did perform a “risk ranking” analysis whereby it
compared Resort Finance to the guideline companies based on different financial measures,
including: interest income; net interest margin to total assets; selling, general, and administrative
(“SGA”) costs to interest margin; SGA to interest income; SGA to total assets; net income to
return on assets; net income to return on equity; loan loss percentage; and net income to net
income margin. Resort Finance ranked at, or second to, the worst in eight of the nine
categories.2352

     Houlihan Lokey selected a range of Annualized P/E multiples of 7.0x to 8.0x, which was
lower than the observed range of the LTM P/E multiples of the guideline companies.2353
Additionally, Houlihan Lokey used an annualized2354 net income of $12.3 million for the period
ended June 30, 2008 despite higher LTM net income of $19.2 million for the same period ended.
Houlihan Lokey did not explain why it used the lower annualized income, which is also
inconsistent with the measure utilized for the guideline companies. Houlihan Lokey and Morgan
Stanley both noted in their respective reports that cash flow projections (against which
annualized and LTM earnings could have been compared) were not available for the Resort
Finance business.2355

     Houlihan Lokey also selected a range of P/NBV of 0.2x to 0.3x. In correspondence with
AFI, representatives of Houlihan Lokey were reluctant to support a valuation conclusion at the
upper end of the overall concluded range because of where they “[thought] the assets would sell”
and the previous “long and failed effort to sell this asset [i.e., by Bear Stearns].”2356 Houlihan



2351 Houlihan
           Lokey Valuation Analysis of Resort Finance as of June 30, 2008, dated July 24, 2008, at 28
    [ALLY_0102229].
2352 See id. at 32

2353 Id. at 28 [ALLY_0102229]. The lowest observed LTM P/E multiple was 10.6x for NewStar Financial, Inc. The

    range of LTM multiples was 10.6x to 12.3x. Id. at 31
2354 Houlihan
           Lokey Valuation Analysis of Resort Finance as of June 30, 2008, dated July 24, 2008, at 28
    [ALLY_0102229] (“assuming the same level of earnings for the remaining six months of 2008”).
2355 See Houlihan Lokey Valuation Analysis of Resort Finance as of June 30, 2008, dated July 24, 2008, at 5

    [ALLY_0102229]; Opinion Letter from Morgan Stanley to the Board of Directors of ResCap, dated July 30,
    2008, at RC00028115 [RC00028114].
2356 E-mail from R. Hull (July 25, 2008) [EXAM10171978].



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Lokey selected low and high multiples of P/NBV that were both below the lowest observed
multiple among the set of guideline companies—approximately 51% and 77% of the lowest
observed multiples.2357 Similarly, Houlihan Lokey selected a range of Annualized P/E multiples
that was below the lowest estimate of the guideline group of companies. Houlihan Lokey
concluded upon a range of Annualized P/E multiples of 7.0x to 8.0x, or 66% and 75% of the
lowest meaningful LTM P/E multiple estimates.2358

     In the Examiner’s Financial Advisors’ experience, when the subject company’s financial
position or performance appears to justify selected multiples below the observed range, as is the
case in Houlihan Lokey’s analysis of Resort Finance, the reliability of the Guideline Publicly
Traded Company Method as an indicator of Fair Market Value must be assessed. In such
situations, the question arises as to how much lower than the observed range would be
appropriate as a reliable measure of value. In support of its selection of multiples relative to the
observed range, Houlihan Lokey noted, “[w]e generally selected capitalization multiples near the
bottom of the range due to, among other things, lower margins, higher customer and industry
concentration, smaller size, and uncertain future prospects.”2359

     These factors, when taken together with the other weakness in Houlihan Lokey’s market
multiple analyses noted above, indicate that the Guideline Publicly Traded Company Method (to
which Houlihan Lokey applied a 50% weight) is not a reliable indicator of the Fair Market Value
of Resort Finance. The Examiner’s Financial Advisors instead considered Houlihan Lokey’s
Asset-Based Approach (discussed immediately below) to be a reliable indicator of Fair Market
Value.

                     (b) Asset-Based Approach

     Houlihan Lokey used the Adjusted Book Value Method under the Asset-Based Approach to
value Resort Finance’s assets. The Adjusted Book Value Method is a commonly applied method
when valuing financial companies.




2357 CIT’sLTM P/NBV was 0.39x and had the lowest P/NBV of the selected comparable set of companies.
    Houlihan Lokey Valuation Analysis of Resort Finance as of June 30, 2008, dated July 24, 2008, at 32
    [ALLY_0102229].
2358 NewStar’s LTM P/E was 10.6x and had the lowest P/E of the selected comparable set of companies. Houlihan

    Lokey did not compute CIT’s P/E estimate and it was determined as not meaningful. Houlihan Lokey Valuation
    Analysis of Resort Finance as of June 30, 2008, dated July 24, 2008, at 32 [ALLY_0102229].
2359 Houlihan
           Lokey Valuation Analysis of Resort Finance as of June 30, 2008, dated July 24, 2008, at 28
    [ALLY_0102229].

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     To value Resort Finance’s portfolio of loans, Houlihan Lokey considered the “nature and
terms of each loan, the borrowers’ credit profiles, and the level of collateral as compared to
the principal amount and lack of marketability of the investment” in order to determine the
Fair Market Value of the loans.2360

     Houlihan Lokey sampled 88.4% of Resort Finance’s AD&C Loans and Receivables
Loans and concluded on an aggregate mark to Fair Market Value of between 81.2% and
83.2% of the UPB.2361 In analyzing the Fair Market Value of the loans, Houlihan Lokey also
considered the following: a DCF analysis of the loans using appropriate risk adjusted returns;
market spreads, yields, and credit statistics for comparable debt instruments; and the
prepayment expectations for the loans.

     Contemporaneous to Houlihan Lokey’s determination of the value-to-par multiples range
of 81.2% to 83.2% (with a mid-point of 82.2%) for the loans, on May 16, 2008 Morgan
Stanley presented an analysis to the ResCap Board of the estimated recovery of ResCap’s
portfolio of assets under two premises: an orderly liquidation and a rapid liquidation.2362
Morgan Stanley estimated the recovery of the Resort Finance assets to range between 70.0%
and 80.0% of the gross carrying value on an orderly liquidation basis and 50.0% to 70.0% of
the gross carrying value on a rapid liquidation basis.2363 Morgan Stanley’s analysis under the
orderly liquidation premise of value corroborates Houlihan Lokey’s conclusion of an
estimated recovery of the Resort Finance business assets of between 81.2% and 83.2% based
on its Adjusted Book Value Method.

     Using the Adjusted Book Value Method, Houlihan Lokey determined a range of
enterprise value between $1.225 billion and $1.226 billion higher than its range using the
Guideline Publicly Traded Company Method of $1.123 billion to $1.188 billion.

                         (c) Premiums And Discounts

     Customary valuation procedures use premiums and discounts related to the ownership
characteristics of an equity interest for such matters as control (or lack of control) and lack of
marketability. Houlihan Lokey did not apply any discounts or premiums in their analysis,
though their analysis presumes that their conclusions of value were on a controlling interest
basis. Houlihan Lokey used only one valuation method (i.e., the Guideline Publicly Traded
Company Method, to which 50% weight was applied) that would ordinarily call for a control
premium.




2360 Id. at 33.

2361 See id. at 34–35.

2362 Morgan Stanley Project Duvall Board of Directors Presentation, dated May 16, 2008 [CCM00012048].

2363 MorganStanley Project Duvall Board of Directors Presentation, dated May 16, 2008, at 15–16
    [CCM00012048].

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     Based on the determination that the Guideline Publicly Traded Company Method is not a
reliable indicator of the Fair Market Value of Resort Finance, the issue of premiums and
discounts does not have an impact on the Fair Market Value assessments herein.

                   (d) Overall Assessment Of Third-Party Conclusion Of Value

      As discussed above, Houlihan Lokey’s Adjusted Book Value Method concluded on a range
of enterprise values between $1.225 billion and $1.225 billion. The Examiner’s Financial
Advisors considered the impact on Houlihan Lokey’s conclusion of applying 100% weight to
this approach, which resulted in a range of equity value of $101.7 million to $132.2 million, with
a mid-point of $116.9 million, as summarized in the table below:




     Houlihan Lokey’s range of concluded enterprise value from operations of $1.225 billion to
$1.256 billion reflected in the table above was calculated based on Houlihan Lokey’s
determination of a range of low to high value-to-par multiples, stated as a percentage. Although
Houlihan Lokey analyzed each component of the Resort Finance portfolio separately, in the
aggregate, the mark to Fair Market Value ranged from 81.2% to 83.2% across the entire
portfolio,2364 with a mid-point of 82.2%. In Houlihan Lokey’s analysis, this range was applied to
the gross carrying amount of the Resort Finance portfolio prior to the deduction of valuation
reserves. In the purchase price calculation for the First Amendment however, the 82% mark,
which apparently corresponds to the mid-point of Houlihan Lokey’s Adjusted Book Value
Method (i.e., 82.2%), was applied to the net carrying value of the portfolio (i.e., net of valuation
reserves). Correcting this apparent error would result in would be an increase to the purchase
price calculated in the First Amendment. This increase would partially be offset, however, by the
deduction of the approximately $15 million in liabilities excluded in error, as described
previously. The net result of these two adjustments to the calculation contained within the First
Amendment is a purchase price of $108.3 million (as summarized in the table below), which is
not materially different from the actual $111.1 million adjusted purchase price (or the $116.9
million calculated in the table above).


2364 Houlihan
          Lokey Valuation Analysis of Resort Finance as of June 30, 2008, dated July 24, 2008, at 34
   [ALLY_0102229].

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                (5) Conclusion Regarding Reasonably Equivalent Value

     Based on the above discussion and analysis and the totality of the circumstances including
but not limited to Houlihan Lokey’s valuation and potential adjustments thereto, the First
Amendment, Morgan Stanley’s fairness opinion, Bear Stearns’ failed sale attempt, Morgan
Stanley’s orderly liquidation analysis, the $15 million post-closing correction of the purchase
price, and other potential adjustments to the calculation of the purchase price reflected in the
First Amendment the Examiner concludes that the evidence supports the proposition that RFC
and GMAC Canada received reasonably equivalent value in the Resort Finance Sale.

            d. Excess Servicing Rights Sales By GMAC Mortgage To Cerberus In July 2008

     Following two auctions, on July 14 and 15, 2008, GMAC Mortgage, a wholly owned
subsidiary of ResCap, agreed to sell Cerberus (the highest bidder in each auction) certain excess
servicing rights on two populations of loans consisting of $13.8 billion in unpaid principal
balance of Freddie Mac loans and $24.8 billion in unpaid principal balance of Fannie Mae loans,
capturing $591.2 and $981.9 million of notional interest-only securities, respectively. The sales
closed on July 30, 2008 and GMAC Mortgage received net cash proceeds of $175.1 million.2365




2365 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 90. ResCap received approximately

   $282 million in cash receipts from the sales. See Residential Capital, LLC, Current Report (Form 8-K) (Aug. 5,
   2008) (referencing the $105.3 million and $176.7 million in proceeds from the two sales). The difference
   between the $282 million in cash receipts and $175.1 million in net proceeds relates ResCap’s repayment of a
   Citibank MSR facility, for which ResCap’s excess servicing rights were collateral. See ResCap Daily Liquidity
   Rollforward (July 31, 2008) [CERB007342] (referencing the pay down of the Citi MSR facility); Memorandum,
   Pentalpha Capital, LLC Loan Sale Review, dated July 16, 2008, at RC40006641 [RC40006611] (referencing
   estimated proceeds of $166 million).

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     Pentalpha was engaged to provide oversight of the auction process, and to review bid
levels and the overall economics of the transaction.2366 Pentalpha opined that “the ResCap
sales team used commercially reasonable efforts to solicit the interest of the most likely buyers
for this particular asset type” and that “the auction of the two excess interest strip securities
was conducted in a fair and equitable fashion and in line with the stated objective of achieving
the highest and best price for the assets, taking into consideration the market conditions under
which the auction was held.”2367

     As set forth in the discussion and analysis below, and based on the totality of the
circumstances, the Examiner concludes that the evidence supports the proposition that GMAC
Mortgage received reasonably equivalent value in the Excess Servicing Rights Sales.

                (1) Overview Of Excess Servicing Fees And GMAC Mortgage

                     (a) Excess Servicing Rights

     Mortgage servicing rights arise from a contractual agreement to service a mortgage,
which commonly entails collecting monthly mortgage payments, setting aside taxes and
insurance premiums in escrow, and forwarding interest and principal to the mortgage lender.
The servicer receives a fee normally calculated as a per annum percentage of the outstanding
balance payable monthly in return for providing these administrative services.2368

     After deducting the required mortgage servicing fee from the borrower note rate,
additional interest in excess of the pass-through rate required by the investor may remain. This
additional amount of interest is considered an “excess servicing fee” (or “excess servicing
rights”) and is often retained by the holder of the base MSR. Excess servicing rights are a
form of cash flow associated with future interest only (“I/O”) income (i.e., it does not include
ancillary income, such as float and late fees).2369

      The market has different avenues for securitizing this excess I/O, including Fannie Mae
strips and Freddie Mac strips. Nearly every large mortgage servicer has issued excess I/O
strips in the past, including Citibank, Wells Fargo, Bank of America, Chase, and PHH
Mortgage; however, such securitizations are less frequent because of the need to accumulate
sufficient amounts to make the transaction costs viable.2370




2366 Minutes of a Special Meeting of the Board of Directors of Residential   Capital, LLC, July 11, 2008, at
    RC40005805–6 [RC40005652].
2367 Memorandum,    Pentalpha Capital, LLC Loan Sale Review, dated July 16, 2008, at RC40006640
    [RC40006611].
2368 STM, Excess Servicing Right Sale to Cerberus, at EXAM00220388 [EXAM00220386].

2369 Ally Bank Excess Servicing Transaction Presentation, at 2 [ALLY_PEO_0065951].

2370 Id.



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                      (b) GMAC Mortgage Excess Servicing Rights

     GMAC Mortgage transferred portfolios of mortgage loans in its normal course of
business to Fannie Mae and Freddie Mac in standard securitization structures.2371 “[GMAC
Mortgage] acted as a servicer of the mortgage loans” under the terms of these transfers and:

                 was entitled to retain a portion of the collections on each
                 mortgage loan as its servicing fee. The servicing fee had two
                 components: a minimum servicing fee, which equaled [25 bps]
                 per annum on the outstanding balance of the mortgage loan; and
                 the balance of the servicing fee, which constituted an “excess
                 servicing fee.2372

     “[GMAC Mortgage]’s rights to receive servicing fees were contractual rights to receive
specified amounts from collections on the mortgage loans. By agreeing to reduce its servicing
fees (in the amount of the excess servicing fee),” and retain only its minimum servicing fee,
“GMAC Mortgage reduced its contractual claim relating to” the cash flows from excess
servicing fees, which made “it possible for the corresponding portion of those cash flows to
instead be used for [distribution] on the [excess I/O] strips.”2373

                 (2) Summary Of Transaction And Process

     ResCap entered into a Master Agreement with Pentalpha on June 24, 2008, in which
Pentalpha agreed to assist ResCap with addressing its liquidity needs through auctions of
certain assets.2374 ResCap later engaged Pentalpha on July 14, 2008 specifically to provide
oversight of the auction for the Fannie Mae and Freddie Mac stripped I/O certificates held by
GMAC Mortgage, and to review bid levels and the overall economics of the transaction.2375




2371 STM, Excess Service Right Sale to Cerberus, at EXAM00220388 [EXAM00220386].

2372 Id.

2373 Id.

2374 SeeE-mail from T. Dwyer (July 13, 2008) [CERB014452]; Draft Incorporation of Master Agreement
    between ResCap and Pentalpha Capital, LLC [CERB014453].
2375 Minutes of a Special Meeting of the Board of Directors of Residential      Capital, LLC, July 11, 2008, at
    RC40005805–6 [RC40005652]. At the board meeting Weintraub noted that the transaction was part of
    ResCap’s $650 million “as is/where is” auction. Id. at RC40005805. This may have been a misstatement as
    the transaction is subsequently reported in ResCap’s SEC filings as forming part of a standalone $300 million
    commitment by Cerberus to purchase certain mortgage-related assets from ResCap. Residential Capital,
    LLC, Current Report (Form 8-K) (Aug. 5, 2008), at Item 1.01.

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     ResCap considered the securities to be “relatively unique in nature,” and determined that
it would not likely benefit from a broad marketing effort of the I/O certificates.2376 ResCap’s
trading personnel elected to solicit bids from five potential investors: Freddie Mac, Fannie
Mae, Lehman, Goldman Sachs, and Cerberus, because these institutions were considered to be
the most likely buyers of this particular asset type. Pentalpha was of the opinion that despite
the relatively small number of institutions, the inclusion of the Wall Street broker-dealers
(Lehman and Goldman Sachs) effectively enhanced the distribution leverage. Further,
Pentalpha offered the view that in addition to bidding for their own investment portfolio, these
investment banking firms would also likely be motivated to bid for these assets if they
believed their clients, of which ResCap might not be aware, would subsequently show
interest.2377

     ResCap provided collateral tapes containing detailed loan-level information to the
prospective bidders on Wednesday, July 9, 2008, along with instructions to submit bids by the
market close on Friday, July 11, 2008. Pentalpha reviewed the collateral tapes and deemed
them to contain sufficient detail for the purpose of collateral analysis by sophisticated
investors. Pentalpha also considered the due diligence period of three days to be an adequate
timeframe for the formulation of bids.2378

     ResCap received four initial bids on Friday, July 11, 2008 for the Fannie Mae assets.
However, each bid was below the levels anticipated by ResCap trading personnel, and the
auction accordingly was cancelled on Monday, July 14, 2008. Cerberus and Goldman Sachs
submitted refreshed bids on July 15, 2008, and ResCap reopened the auction and executed the
trade with the highest bidder, Cerberus. Pentalpha noted that while the process disadvantaged
Cerberus, which also submitted the highest initial bid, the bids from the second round were
more than $3 million closer to the pre-bid expectations (albeit revised downward).2379

     In the case of the Freddie Mac assets, ResCap received four initial bids on Monday,
July 14, 2008. Cerberus and Goldman Sachs were again the two highest bidders and were both
invited to submit a second, final bid. Both bidders increased their bids from the first round, but
Cerberus’s final bid was the highest and was deemed acceptable because of its close proximity
to pre-bid expectations.2380




2376 Memorandum,    Pentalpha Capital, LLC Loan Sale Review, dated July 16, 2008, at RC40006638
    [RC40006611].
2377 Id.

2378 Id. at RC40006638, 40.

2379 Id. at RC40006638–39.

2380 Id. at RC40006639.



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      The ResCap Board created the Special Committee of Independent Directors on July 14,
2008, the same day as the auctions, to make certain decisions regarding transactions with
affiliates of ResCap.2381 On the day it was created, the Special Committee of Independent
Directors recommended approval of the auctions, even though the Fannie Mae auction had not
yet concluded, and a reserve position was later approved by the ResCap Board by written
consent.2382 Considerable discussion reportedly transpired regarding the establishment of a
reserve position and monitoring of the auction process to ensure the transaction was
reasonably priced and consistent with market terms based on similar transactions. The ResCap
Board’s written consent resolved that: (1) if the reserve position was met; (2) if Cerberus’s bid
was the highest received in the auction; and (3) if at least one other bona fide bid was received
from a non-affiliated party, then the sale of the excess servicing rights by GMAC Mortgage to
Cerberus (as the highest bidder) would be deemed authorized and approved. The ResCap
Board further resolved that, after review and discussion of the recommendation of the Special
Committee of Independent Directors, any sale to Cerberus pursuant to the auction process, and
in accordance with the foregoing stipulations, would be deemed to have been completed on
terms not materially less favorable to ResCap and its relevant subsidiaries than those that
could reasonably have been obtained in a comparable arm’s-length transaction by ResCap or
such subsidiary with an unaffiliated party.2383

     The Special Committee of Independent Directors later reviewed the results of the
auctions including the memorandum containing Pentalpha’s opinions and ratified its previous
recommendation that the ResCap Board approve the sale to Cerberus in these
circumstances.2384 The ResCap Board subsequently resolved on July 30, 2008, that, based
upon such ratification and further recommendation by the Special Committee of Independent
Directors, the sale of assets to Cerberus be authorized and approved.2385

    GMAC Mortgage, Ally Securities (acting as an intermediary on the Fannie Mae Sale),2386
and Cerberus executed Purchase Agreements on the same day, July 30, 2008,2387 for the




2381 Unanimous Written Consent of the Board of Directors of Residential Capital, LLC, dated July 14, 2008, at

    RC00017276 [RC00017276].
2382 Id. at RC00017279.

2383 Id.

2384 Unanimous Written Consent of the Special Committee of Independent Directors of Residential Capital, LLC,

    dated July 25, 2008, at RC40006633–41 [RC40006611].
2385 Written Consent of the Board of Directors of Residential Capital, LLC, dated July 30, 2008 [RC00017286].

2386 Purchase Agreement between GMAC Mortgage and RFS, dated July 30, 2008 [EXAM31874759]; see also

    Letter from Mayer Brown to GMAC Mortgage (July 30, 2008) [PWC11075]; Letter from Fannie Mae to
    GMAC Mortgage (July 24, 2008) [PWC11032].
2387 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 10, 2008), at Ex. 10.2, Ex. 10.3.



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excess servicing rights on the two populations of loans consisting of $13.8 billion in unpaid
principal balance of Freddie Mac loans and $24.8 billion in unpaid principal balance of Fannie
Mae loans, capturing $591.2 million and $981.9 million of notional interest-only securities,
respectively. The sales closed on July 30, 2008 and GMAC Mortgage received net cash
proceeds of $175.1 million after paying an associated obligation to Citibank.2388

     Cerberus previously had executed a commitment letter on June 2, 2008 to purchase
certain assets identified by ResCap for consideration consisting of $300 million in net cash
proceeds.2389 The Excess Servicing Rights Sales, together with Cerberus’s firm bid in the
September 2008 Model Home Sale, satisfied Cerberus’s obligations under its $300 million
commitment letter.2390

                 (3) Summary Of FMV Indicia

     As discussed in Section III, at the time of this auction, Wall Street firms were already
experiencing the economic turmoil that would eventually lead to Fannie Mae and Freddie Mac
being placed into conservatorship, Lehman filing bankruptcy, and Goldman Sachs receiving a
$5 billion cash infusion from Berkshire Hathaway, in September 2008. Given this context,
many Wall Street firms likely would have had little, if any, appetite to bid for the excess
servicing right I/O strips without having identified a buyer.

     After the failure of the first auction of the Fannie Mae I/O strips on July 14, 2008, when
the reserve level was not achieved, the subsequent auction successfully increased the
transaction price relative to pre-bid expectations (albeit revised downward). The second round
of bidding on the Freddie Mac I/O strips resulted in an absolute price increase over the first
round of bidding. Finally, there were multiple independent bidders and Cerberus competed
with Goldman Sachs in the final pricing of both auctions.

                 (4) Conclusion Regarding Reasonably Equivalent Value

     Based on the above discussion and analysis and based on the totality of the
circumstances, including the nature of the auctions, Pentalpha’s memorandum, and market
conditions at the time of the auctions, the Examiner concludes that the evidence supports the
proposition that GMAC Mortgage received reasonably equivalent value in the Excess
Servicing Rights Sales.




2388 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 90.

2389 Letter from Cerberus to ResCap (June 2, 2008), at EXAM31326401 [EXAM31326384].

2390 Letter from Cerberus to ResCap (Aug. 1, 2008) [EXAM10283374].



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             e. September 2008 Model Home Sale By DOA Holding Properties, LLC To
                Cerberus

                  (1) Overview Of September 2008 Model Home Sale

      Following an auction, on September 30, 2008, DOA Holding Properties, LLC, a direct
wholly owned subsidiary of RFC (“DOA Holding”), sold two pools of model home assets to
MHPool Holdings LLC, an affiliate of Cerberus,2391 for net cash proceeds of $59.2 million.2392
Mark Neporent, COO and General Counsel of Cerberus, explained that these model homes
were not included in the June 2008 Model Home Sale because ResCap had not yet identified
them at the time of that transaction.2393 The September 2008 Model Home Sale, together with
the Excess Servicing Rights Sales entered into between GMAC Mortgage and Cerberus,
satisfied a commitment by Cerberus to purchase assets from ResCap or its subsidiaries for net
cash proceeds of $300 million.2394

     As set forth in the discussion and analysis below and based on the totality of the
circumstances, the Examiner concludes that the evidence supports the proposition that RFC as
the equity owner of DOA Holding, and DOA Holding, received reasonably equivalent value in
the September 2008 Model Home Sale.

                  (2) Summary Of Transaction And Process

      Cerberus executed a commitment letter on June 2, 2008, to purchase certain assets from
ResCap for “consideration consisting of $300 million in net cash proceeds.”2395 In partial
fulfillment of this commitment, on July 25, 2008, Cerberus submitted a firm bid to purchase
four pools of model home assets, comprising 487 model homes and first mortgage loans
secured by another 208 model homes, for $125 million, subject to an auction process.2396 The
stated purpose of Cerberus’s July 25, 2008 letter was to “(i) identify the assets that are to be
the subject of the Firm Bids, (ii) confirm the terms, conditions and procedures for the Auction,
and (iii) set forth the terms and conditions of the Firm Bids.”2397 The auction was to be
commenced and completed as soon as reasonably practicable and conducted in an arm’s-



2391 Purchase Agreement among ResCap, DOA Holding Properties, LLC, DOA Properties IIIB (KB Models),

    LLC and MHPool Holdings LLC, dated Sept. 30, 2008 [CERB000010].
2392 Seller’s Certificate, dated Sept. 30, 2008 [CERB000184].

2393 Int. of M. Neporent, Feb. 6, 2013, at 118:3–120:19.

2394 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 90; Draft Letter from Cerberus to

    ResCap (Aug. 1, 2008) [EXAM10144390].
2395 Letter from Cerberus to ResCap (June 2, 2008), at EXAM31326401–04 [EXAM31326384].

2396 Letter from Cerberus to ResCap (July 25, 2008) [CERB000001]; Letter from Cerberus to Investors (undated),

    at CERB033227 [CERB033224].
2397 Letter from Cerberus to ResCap (July 25, 2008), at CERB000001 [CERB000001].



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length transaction through the retention of Houlihan Lokey or another nationally recognized
broker. Cerberus also retained the right to withdraw its firm bid on any of the pools in the event
that more than 25% of the pool had been sold prior to the conclusion of the auction.2398

     Cerberus and ResCap amended the $300 million commitment letter on August 1, 2008,
agreeing that Cerberus’s obligations therein had been satisfied fully through: (1) Cerberus’s
participation in the Excess Servicing Rights Sales that closed the day before on July 30, 2008;
and (2) Cerberus’s $125 million firm bid to purchase the four pools of model homes assets.2399

     As of August 6, 2008, Houlihan Lokey, acting as financial advisor to RFC, had begun to
contact other potential investors regarding the auction of the four pools of model home assets.2400
By August 15, 2008, Houlihan Lokey had contacted fifty-four potential investors, fifteen of
whom (including Cerberus) had executed confidentiality agreements and been provided data
room access to analyze the four pools of model home assets.2401 Houlihan Lokey expected to
receive preliminary bid proposals by August 28, 2008, complete the auction by September 30,
2008, and close the transaction by October 15, 2008.2402

      The Special Committee of Independent Directors convened a telephonic meeting on
September 23, 2008, to discuss and compare the bids from Cerberus and the only other bidder in
the auction whose overall preliminary bid exceeded Cerberus’s—Dubose Model Homes USA
(“Dubose”).2403 The Independent Directors were provided a bid comparison sheet indicating that
Dubose’s bid exceeded Cerberus’s bid by approximately $5.4 million.2404 Young and
Hamzehpour noted, however, that Cerberus’s bid expired on September 30, 2008, that Cerberus
was unlikely to extend the deadline, and that Dubose had indicated its final bid could not be
submitted until October 6, 2008.2405 Young emphasized the importance of closing the sale by no
later than October 15, 2008, which Cerberus had committed to do, and stated his concern that the
time frame required by Dubose instead would result in a closing at the end of October.2406




2398 Letter from Cerberus to ResCap (July 25, 2008) [CERB000001].

2399 Letter from Cerberus to ResCap (Aug. 1, 2008) [EXAM10283374].

2400 Houlihan Lokey Presentation Regarding RFC Model Home Sale Process Update, dated Aug. 15, 2008, at 4

    [CERB022285].
2401 Id. at 1–3.

2402 Id. at 4.

2403 Minutes  of a Meeting of the Special Committee of the Independent Directors of the Board of Residential
    Capital, LLC, Sept. 23, 2008, at RC40006676–77 [RC40006611].
2404 RFC Model Home Portfolio Bid Summary, dated Sept. 23, 2008 [CCM00519193].

2405 Minutes  of a Meeting of the Special Committee of the Independent Directors of the Board of Residential
    Capital, LLC, Sept. 23, 2008, at RC40006676 [RC40006611].
2406 Id.



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     After this discussion, the Special Committee of Independent Directors requested that
RFC approach Dubose to determine if it would submit a firm bid without a financing
contingency by September 29, 2008, and be prepared to close by October 15, 2008, if its bid
was accepted. This would allow time to accept Cerberus’s bid prior to its September 30, 2008
expiration if the Special Committee of Independent Directors deemed Dubose’s bid to be
inadequate.2407

     The Special Committee of Independent Directors convened another telephonic meeting
two days later on September 25, 2008 to obtain an update on Hamzehpour’s discussion with
Dubose. Hamzehpour reported that Dubose would be unable to submit a firm bid prior to
September 30, 2008. The Special Committee of Independent Directors then authorized
Hamzehpour to pursue the sale of model homes (i.e., all four pools of model home assets) to
Cerberus in accordance with the terms previously presented.2408

     In a letter dated September 25, 2008, Cerberus acknowledged its understanding that it
was the winning bidder on all four pools and that, with respect to pools 1 and 2, it intended to
work with ResCap in good faith to close the transaction by September 30, 2008.2409 Cerberus
also noted, however, that more than 25% of the assets in pools 3 and 4 had been the subject of
a sale and, in accordance with its July 25, 2008 firm bid, executed its right to withdraw its bids
on pools 3 and 4.2410

      On September 30, 2008, DOA Holding and DOA Properties IIIB (KB Models), LLC,
each a wholly owned subsidiary of RFC, and ResCap executed a purchase agreement with
MHPool Holdings LLC, an affiliate of Cerberus,2411 for the sale of approximately 487 model
homes in exchange for cash consideration consisting of approximately $80 million
(corresponding to Cerberus’s July 25, 2008 firm bid on pools 1 and 2). The purchase price was
subject to certain adjustments, primarily relating to the sales of homes in the ordinary course
after June 30, 2008, resulting in a net purchase price of $59.2 million.2412 The diagram below
provides a summary of the assets and value exchanged in the September 2008 Model Home
Sale.




2407 Id.

2408 Minutes of a Telephonic Meeting of the Independent Committee of the Board of Directors of Residential

    Capital, LLC, Sept. 25, 2008, at RC40006678–83 [RC40006611].
2409 Letter from Cerberus to ResCap (Sept. 25, 2008) [CERB000009].

2410 Id.

2411 Purchase Agreement among ResCap, DOA Holdings Properties, LLC, DOA Properties IIIB (KB Models),

    LLC and MHPool Holdings LLC, dated Sept. 30, 2008 [CERB000010].
2412 Seller’s Certificate, dated Sept. 30, 2008 [CERB000184]; Letter from Cerberus to ResCap (July 25, 2008)

    [CERB000001].

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                (3) Summary Of FMV Indicia

      As noted previously, on July 10, 2008 Young asked Brian Murray, managing director at
ResCap, for his view of the IRR implied by Cerberus’s bid, to which Murray responded, “I do not
believe we would be able to get bids with an IRR much lower than 20%.”2413 Murray’s assessment
apparently was premised on “two large bids in process in which Lennar will be buying back their
models (in the CMH) at an IRR in 20% range, and Jack Buck . . . looking to buy us out (ResCap) in
the same 20% IRR range.”2414 Young responded, “[t]his would leave me to believe that their bid is in
the fair value range for a bulk sale. Then our decision is do we take the cash now or run it out over
two years, or some combination of both, if possible.”2415 Young forwarded Murray’s analysis to
Marano and Weintraub on the same day, commenting:

                Bottom line, this analysis indicates it would take us around 2 years
                to sell off the model homes at a cash [NPV] of approx. 15% higher
                than [Cerberus’s] bid. However, the NPV is discounted at 10%
                which is low to me. I’ve asked the team to run at a yield to
                [Cerberus] – it looks like will be around 20% which doesn’t seem
                out of line.2416

     Young’s observation is corroborated by the fact that through the arm’s-length auction
process conducted by Houlihan Lokey, which included non-affiliate bidders, only one
preliminary bid and no firm bids exceeded Cerberus’s firm bid.

                (4) Conclusion Regarding Reasonably Equivalent Value

     Based on the above discussion and analysis and the totality of the circumstances, including
but not limited to an auction process that included non-affiliate bidders and was conducted by a
nationally recognized broker in an arm’s-length manner, the degree of differential between the
bids received, and the temporal and contingent factors surrounding such bids, the Examiner
concludes that the evidence supports the proposition that RFC as the equity owner of DOA
Holding, DOA Holding, received reasonably equivalent value in the September 2008 Model
Home Sale.

            f. ResMor Sale By GMAC Canada To AFI In January 2009

   On January 1, 2009, AFI acquired from GMAC Canada, a wholly owned subsidiary of
RFC, all of the outstanding shares in ResMor for C$82 million (approximately $67 million as of




2413 E-mail from B. Murray to J. Young (July 10, 2008) [EXAM10399483].

2414 Id.

2415 E-mail from J. Young to B. Murray (July 10, 2008) [EXAM10399483].

2416 E-mail from J. Young to T. Marano and J. Weintraub (July 10, 2008) [EXAM12115217].



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December 31, 2008). ResMor had been acquired by GMAC Canada from a third party only
one year earlier in November 2007 for C$53.8 million.2417 GMAC Canada invested another
C$25 million in the company in December 2007, bringing its total investment in ResMor to
C$78.5 million through the end of 2007.2418

      Prior to closing, Goldin Associates delivered a fairness opinion dated December 3, 2008, to
the Special Committee of Independent Directors indicating that the consideration to be received
in the transaction was fair from a financial point of view to ResCap and its creditors (other than
AFI).2419 On December 4, 2008, Sandler O’Neill delivered a fairness opinion to the AFI Board
that the consideration to be paid in the transaction was fair to AFI from a financial point of
view.2420

     As set forth in the discussion and analysis below and based on the totality of the
circumstances, the Examiner concludes that the evidence supports the proposition that RFC as
the equity owner of GMAC Canada, and GMAC Canada, received reasonably equivalent
value in the ResMor Sale.

               (1) Overview Of ResMor

     ResMor’s principal business involved the origination, sale, and administration of
mortgage loans through a federally chartered Canadian trust company whose operations were
regulated by Canada’s Office of the Superintendent of Financial Institutions. The mortgage
loans were sold to investor-clients either directly or through securitization programs. ResMor
also serviced the majority of mortgage loans sold to investor clients.2421

    ResMor was also an approved lender for credit insurance by the Canada Mortgage and
Housing Corporation and Genworth Financial Mortgage Insurance Company Canada, and an
approved issuer of National Housing Act mortgage-backed securities. ResMor was
headquartered in Calgary with an office in Toronto, and operated in all of the Canadian




2417 Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of

    Residential Capital, LLC Regarding the Purchase of ResMor Trust Company by GMAC, LLC, dated Dec. 2,
    2008, at 10 [GOLDIN00127218].
2418 See id.

2419 Opinion Letter from Goldin Associates to the Committee of Independent Members of the Board of Directors

    of ResCap (Dec. 3, 2008) [RC00027945].
2420 Opinion Letter from Sandler O’Neill & Partners, L.P. to the Board of Directors of GMAC, LLC (Dec. 4,

    2008) [SOP0000653].
2421 ResCap STM, ResMor Sale to AFI, at EXAM00220432 [EXAM00220430].



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provinces except Quebec.2422 Although ResMor had approximately 260 employees (i.e., 100 in
loan servicing, sixty-five in underwriting, fifty administrative, thirty in information technology,
and fifteen in marketing/production), it relied upon ResCap for staffing assistance.2423

     ResMor held approximately C$425 million in HFI and HFS loans and serviced
approximately C$5.9 billion in mortgage loans at the time of its sale to AFI.2424 ResMor’s
revenue consisted of origination gains on the sale of residential mortgage loans, interest and
other income from loans held until maturity, and servicing revenue from loans under
administration.2425 The table below provides a summary of ResMor’s historical income statement
leading up to the sale.2426




     ResMor had no branch network. It relied on brokered customer deposits that were insured
by the Canada Deposit Insurance Corporation, to fund its business. Its growth was both fueled
and limited by its access to equity capital. ResMor’s equity grew from C$25 million on
December 31, 2006, to C$71 million on October 31, 2008, because of growth in earnings and a
C$25 million investment from ResCap in December 2007.2427




2422 Draft Presentation to the Committee of Independent Members of the Board of Directors of Residential Capital,

    LLC Regarding the Purchase of ResMor Trust Company by GMAC, LLC, dated Dec. 2, 2008, at 9
    [GOLDIN00127218].
2423 Id.

2424 Id.

2425 Id.

2426 Id. at 13.

2427 Id. at 9.



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     Before the sale to AFI, credit concerns about ResCap and AFI led counterparties to
terminate ResMor’s repurchase and swap lines of credit, thereby limiting ResMor’s ability to
hedge pipeline and inventory exposure. In response, as of October 31, 2008, ResMor had built
a relatively large excess cash balance of C$282.5 million (or, cash on hand less C$75
million).2428 Because ResMor’s growth was limited by its capital ratio constraints, equity
capital that could have been used to support growth in mortgage loan assets was instead being
used to support excess cash balances.2429 The resulting negative spread on excess cash
balances was becoming a drag on ResMor’s earnings.2430

                      (2) Summary Of Transaction And Process

      The idea of selling ResMor to AFI was suggested as early as August 2008 by Jerry
Lombardo.2431 The transaction was discussed by the ResCap Board at various board or
committee meetings as early as October 10, 2008.2432 Following the ResCap Board meeting on
October 10, 2008, the Independent Directors held a telephonic meeting with their counsel,
Morrison Cohen, to discuss the proposed sale of ResMor to an affiliate.2433 The Independent
Directors held another telephonic meeting on November 3, 2008, to discuss the proposed sale
and agreed that Morrison Cohen would continue its discussions with various parties regarding
a fairness opinion.2434

     Materials prepared for the October 28, 2008 ResCap Board meeting stated that “book
value is solid, therefore would not sell for anything less than book value,” went on to state that
“our valuation work supports a range of 1.2x to 1.7x tangible book or C$80 to C$120 million”
and also noted that AFI has offered C$82 million in cash.2435 Materials prepared for the AFI
Board dated October 31, 2008 indicated that C$82 million was 1.15x book value as of
September 30, 2008 and that certain publicly traded guideline companies traded in a range of
1.0x to 1.1x tangible book value.2436



2428 Id. at 10.

2429 Id. at 10, 14.

2430 Id. at 10.

2431 See E-mail from J. Lombardo to S. Ramsey (Aug. 11, 2008) [EXAM10176312] (discussing possible sale of

    ResMor to AFI).
2432 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Oct. 10, 2008, at

    RC40005881 [RC40005652].
2433 Minutes of a Telephonic Meeting of the Independent Committee of the Board of Directors of Residential

    Capital, LLC, Oct. 10, 2008, at RC40006686 [RC40006611].
2434 Minutes of a Telephonic Meeting of the Independent Committee of the Board of Directors of Residential

    Capital, LLC, Nov. 3, 2008, at RC40006691 [RC40006611].
2435 ResCap ResMor Trust Valuation Analysis Presentation, dated Oct. 28, 2008, at RC00018978 [RC00018958].

2436 See Board Meeting, ResCap Support Actions, dated Oct. 31, 2008, at 2 [ALLY_0230517].



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     Sandler O’Neill was retained on October 20, 2008 by AFI to prepare a fairness
opinion.2437 Once a decision was made to proceed with the sale to AFI, the transaction moved
quickly. Minutes for the November 12, 2008, ResCap Board meeting reflect that AFI was
willing to close as quickly as November 14, 2008,2438 and a draft term sheet was prepared by
November 13, 2008.2439

     At least two other potential buyers were contacted about acquiring ResMor. Before
approving the transaction, inquiry was made to find out whether they were still interested in
acquiring ResMor. One potential buyer was not responsive, while the other needed to raise
funding for the transaction and could not close in a timely manner.2440

     Although no third-party valuation was performed for this transaction, as was the case in
certain other sales to AFI Affiliates, the Special Committee of Independent Directors did
retain Goldin Associates on November 17, 2008 to prepare a fairness opinion on the proposed
sale of ResMor to AFI.2441

     The transaction was approved by the ResCap Board on November 20, 2008, by written
consent, which noted that the Special Committee of Independent Directors (established on
July 14, 2008, to review and approve affiliate transactions over $10 million) had approved the
transaction.2442 No separate minutes for the Special Committee of Independent Directors
approving this transaction were located in the Investigation.

     On the same day as the ResCap Board’s approval, GMAC Canada, a wholly owned
subsidiary of RFC, entered into an agreement to sell all of the outstanding shares of 1020491
Alberta Ltd (“Alberta Ltd”) and all of its shares of ResMor to AFI for C$82 million
(approximately US$67 million as of December 31, 2008).2443 Alberta Ltd owned the other
outstanding shares of ResMor, so the purchaser acquired 100% of ResMor and 100% of




2437 Letter from Sandler O’Neill & Partners, L.P. to AFI Board (Oct. 20, 2008) [SOP0000579].

2438 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Nov. 12, 2008, at 2

   [RC00017340].
2439 Non-Binding Offer to Acquire ResMor Trust Company, Indicative Summary of Terms, dated Nov. 13, 2008

   [CCM00015169].
2440 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Nov. 15, 2008, at

   RC40005911 [RC40005652].
2441 Engagement Letter from Goldin Associates to the Committee of the Independent Members of the Board of

   Directors of ResCap (Nov. 17, 2008) [EXAM00233501].
2442 Action by Written Consent of the Board of Directors of Residential Capital, LLC, dated Nov. 20, 2008, at

   RC40005913–27 [RC40005652].
2443 Share Purchase Agreement between GMAC Canada and GMAC, LLC, dated Nov. 20, 2008 [RC00025358].



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ResMor Trust Company, a wholly owned subsidiary of ResMor.2444 Concurrent with the
execution of the Share Purchase Agreement, GMAC Canada and AFI also entered into the
ResMor Loan Agreement, whereby GMAC Canada received proceeds of C$82 million.2445

     On December 2, 2008, Goldin Associates presented its valuation analysis to the Special
Committee of Independent Directors2446 and, on December 3, 2008, it issued its fairness
opinion indicating that the consideration to be received in the transaction was fair from a
financial point of view to ResCap and its creditors (other than AFI).2447 On December 4, 2008,
Sandler O’Neill delivered a fairness opinion to the AFI Board indicating that the consideration
to be paid in the transaction was fair to AFI from a financial point of view.2448

     The transaction closed on January 1, 2009. The purchase price of C$82 million was paid
via forgiveness of debt under the ResMor Loan Agreement. The purchase price was not
adjusted post-closing, though early drafts of the share purchase agreement provided for such
an adjustment feature.2449




2444 Share Purchase Agreement between GMAC Canada and GMAC, LLC, dated Nov. 20, 2008, at RC00025364

    [RC00025358].
2445 Loan Agreement between GMAC Canada and GMAC, LLC, dated Nov. 20, 2008 [ALLY_0149086].

2446 SeeDraft Goldin Associates Presentation to the Committee of Independent Members of the Board of
    Directors of Residential Capital, LLC Regarding the Purchase of ResMor Trust Company by GMAC, LLC,
    dated Dec. 2, 2008 [GOLDIN00127218].
2447 Opinion Letter from Goldin Associates to the Committee of Independent Members of the Board of Directors

    of ResCap (Dec. 3, 2008) [RC00027945].
2448 Opinion Letter from Sandler O’Neill & Partners, L.P. to the Board of Directors of GMAC, LLC (Dec. 4,

    2008) [SOP0000653].
2449 See
       Draft Share Purchase Agreement between GMAC Canada and GMAC, LLC, dated Nov. 13, 2008
    [GOLDIN00093530].

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    The diagram below provides a summary of the value exchanged between GMAC Canada
and AFI in the ResMor Sale.




     Under the June 2008 Indentures, the transaction was required to be on an arm’s-length
basis. The November 20, 2008 ResCap Board Written Consent included a resolution that the
transaction was on terms that are not materially less favorable to the company and its relevant
subsidiaries than those that could reasonably have been obtained in an arm’s-length transaction
by the company or such subsidiaries with an unaffiliated third party (which is the standard in the
June 2008 Indentures).2450
2450 Written Consent of the Board of Directors of Residential Capital, LLC, dated Nov. 20, 2008, at RC40005913–

   27 [RC40005652].

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                 (3) Internal ResCap Valuation Analysis

     The internal analysis presented to the ResCap Board dated October 28, 2008, contained
an Income Approach (using the DCF Method) and a Market Approach (using the Guideline
Publicly Traded Company Method) in deriving a range of equity values.2451 The analysis in
the presentation was high-level in nature and did not present significant detail. ResCap’s DCF
Method under the Income Approach used projections from 2009 through 2013 and applied a
discount rate of between 15% and 20%. The presentation did not disclose the residual period
or discount rate calculation. The range of equity value was estimated at C$84.8 million to
C$126.0 million.

     There are two key differences between this internal analysis and the valuation analysis
prepared by Goldin Associates (which will be discussed in detail below); namely,
(1) ResCap’s internal analysis did not assume cash flows over the discrete projection period
would be reinvested in the business to fund more loans, as Goldin Associates assumed; and
(2) ResCap applied a higher discount rate than Goldin Associates. These two inputs account
for much of the difference between ResCap’s preliminary analysis of a valuation range
between C$84.8 million and C$126.0 million, and Goldin Associates’ opinion of a valuation
range between C$74.8 million and C$89.1 million.

     ResCap’s Guideline Publicly Traded Company Method under the Market Approach was
based on five companies: Home Capital Group, Equitable Group, Xceed Mortgage Corporation,
Bank of Nova Scotia, and Royal Bank of Canada. The analysis equally weighted four multiples:
P/NBV, P/TBVE, 2008 Forward P/E, and 2009 Forward P/E. Based on the low and high end of
the range of these multiples, the analysis resulted in a wide range of value of between C$38.1
million and C$157.8 million.

     The Examiner’s Financial Advisors do not view the inclusion of Bank of Nova Scotia
and Royal Bank of Canada in the guideline group as appropriate given the relatively smaller
size and narrower scope of ResMor. Excluding Bank of Nova Scotia and Royal Bank of
Canada results in lower mean and median multiples for the guideline group. In addition, the
wide range of value indications somewhat limits the usefulness of the Guideline Publicly
Traded Company Method in assessing the question of whether RFC as the equity owner of
GMAC Canada, and GMAC Canada obtained REV in the ResMor Sale.

                 (4) Summary Of Third-Party Indicia Of Value

     The Examiner’s Financial Advisors reviewed and analyzed the valuations underlying the
fairness opinions by Goldin Associates and Sandler O’Neill to gauge their utility as indicia of
Fair Market Value.




2451 Notice of a Special Meeting of the Board of Directors of Residential Capital, LLC, dated Oct. 28, 2008, at

   RC40008766–77 [RC40008754].

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                    (a) Third-Party Conclusion Of Value

     In preparing its fairness opinion, Goldin Associates conducted various valuation analyses. It
did not, however, arrive at an independent conclusion of value. Appendix V.F.4.f(4)(a) provides a
summary of the ResMor valuation analysis performed by Goldin Associates in developing its
fairness opinion. In summary, Goldin Associates ultimately relied upon three valuation
methodologies: (1) DCF Method under the Income Approach; (2) Guideline Publicly Traded
Company Method (placing weight on two different multiples under this methodology) under the
Market Approach; and (3) Guideline M&A Method under the Market Approach, the results of
which are summarized in the following table.2452 Goldin Associates also performed an analysis
under the Asset-Based Approach, on which it ultimately did not rely, as discussed further below.




     Goldin Associates concluded that the C$82 million proposed purchase price for ResMor
was within the range of value implied by the various valuation methodologies and, therefore, fair
to ResCap and its creditors (other than AFI).

                    (b) DCF Method

     Goldin Associates used management’s financial projections to develop a DCF analysis.
Goldin Associates described making various adjustments to management’s financial projections
for 2008 through 2013, as follows:

        1. Business lines
        Only the mortgage business projections were used. Automotive and
        commercial lines of business were omitted because they do not presently exist


2452 See Draft Presentation to the Committee of Independent Members of the Board of Directors of Residential

   Capital, LLC Regarding the Purchase of ResMor Trust Company by GMAC, LLC, dated Dec. 2, 2008, at 26
   [GOLDIN00127218].

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          2. Funding channels
          Removed direct to consumer funding source because the company does not
          presently utilize such a source and because of required capital expenditures to
          effectuate
          3. Mortgage origination growth
          Gradually lowered the growth rate to approach historical industry averages . . .
          4. [GMAC Canada] conduit activity
          Added C$2 million to revenue in 2009 and 2010 to reflect [GMAC Canada]
          payments to ResMor for servicing of ongoing conduit activities.2453

      From 2009 through 2013, the projected annual free cash flow to equity was assumed to
be zero because 100% of the net income was assumed to be reinvested in regulatory capital. In
the residual period, the assumed reinvestment rate was 33.6%. This rate was derived by taking
the assumed long term growth rate in net income of 4.9% and dividing that by the ROE of
14.4% as projected in 2013. The 2013 ROE was calculated by dividing the 2013 projected net
income of C$16.5 million by the projected 2013 book value of equity of C$114.5 million. This
ratio of 33.6% (4.9% / 14.4%) represented the reinvestment rate, and 66.4% (100.0% - 33.6%)
was the estimated payout ratio.

     Using these DCF assumptions, 100% of the value conclusion was derived from the
indicated value in the residual period. The residual period value was calculated using three
different approaches: (1) a capitalization of cash flow using a perpetual growth rate of
4.9%;2454 (2) a P/E exit multiple of 8.4x; and (3) a P/NBV exit multiple of 1.2x. The total
equity values derived from the DCF Method using these three residual period calculations
ranged from C$75.7 million to C$85.8 million.2455

     The source for the 4.9% perpetual growth rate used in the residual value calculation was
the “IMF World Economic Outlook Oct 2008.” The perpetual growth rates implied by the P/E
and P/NBV exit multiples were 4.0% and 3.9%, respectively. The Examiner’s Financial
Advisors view these perpetual growth rates in the residual period to be within the range that an
appraiser would apply in the valuation of a business of this type that is a going concern.




2453 Id. at 16.

2454 The general model for capitalization of cash flows is (CF×(1+g))/k-g where CF is the base year cash flow, g

    is the long-term growth rate, and k is the discount rate.
2455 DraftPresentation to the Committee of Independent Members of the Board of Directors of Residential
    Capital, LLC Regarding the Purchase of ResMor Trust Company by GMAC, LLC, dated Dec. 2, 2008, at 18
    [GOLDIN00127218].

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     The selected P/E exit multiple of 8.4x was similar to the mean LTM P/E multiple of 8.5x
estimated in the Guideline Publicly Traded Company Method. The selected P/NBV exit
multiple of 1.2x was equal to the mean P/NBV multiple estimated in the Guideline Publicly
Traded Company Method. This approach assumes that market multiples will not change over
the discrete projection period.

                     (c) Discount Rate

     The discount rate of 12.2% selected by Goldin Associates was a cost of equity based on a
MCAPM using guideline company observations, such as a levered beta. Goldin Associates
selected a levered beta of 0.67, which means that they assessed the volatility of ResMor’s
stock to be positively correlated with, but lower than, the overall market (which has as a beta
of 1.0). The observed betas for the six guideline companies ranged from 0.40 to 1.04. The size
premium, which was an additional risk premium used to account for the fact that investments
in smaller companies are considered to require a greater return on investment, was based on a
commonly cited study by Ibbotson Associates in the Stocks Bonds Bills and Inflation 2007
yearbook. The size premium selected by Goldin Associates was 3.0% and described in the
report as the “Micro-Cap Size Premium.” Goldin Associates’ range of equity value from their
DCF Method was C$75.7 million to C$85.8 million.2456

     In reviewing the Ibbotson 2007 publication cited by Goldin Associates, it appears that the
size premium for the “micro-cap” companies was 3.88% (rather than 3.0% used by Goldin
Associates). However, Ibbotson’s 2008 edition was available when Goldin Associates did its
analysis and indicated a 3.65% micro-cap premium. If the 3.88% size premium were used, the
discount rate would have been 13.12% (rather than 12.2% as calculated). Using this higher
discount rate, the range of equity value from the DCF Method would decrease to a range of
C$72.6 million to C$73.6 million. Given the equity value of ResMor, however, some
appraisers might apply the size premium equating to the 10th decile, which would be 6.27%, or
even the 10b decile, which would be 9.68%. If the analysis were to use these higher size
premiums, the discount rate would be higher and, thus, the equity value would be lower still.




2456 Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of

   Residential Capital, LLC Regarding the Purchase of ResMor Trust Company by GMAC, LLC, dated Dec. 2,
   2008, at 17–18 [GOLDIN00127218].

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     On the other hand, the unsourced 8.56% premium over the 10-year Canadian government
bonds used by Goldin Associates is higher than the benchmark’s commonly cited for U.S.
equity risk premiums. For instance, the 2008 Ibbotson publication recommended a U.S. equity
risk premium in a range of 6.2% to 7.1% over 20-year Treasuries.2457 The Examiner’s
Financial Advisors do not believe that a Canadian equity risk premium would be materially
different from a U.S. premium. The use of an equity risk premium of 6.5% and the 2008
micro-cap companies size premium (3.65%) would have a combined effect of reducing the
discount rate and increasing value. However, the Examiner’s Financial Advisors further note
that Goldin Associates’ selection of a beta (0.67) is unusually low for levered equity of
financial services companies. A higher beta would result in a higher discount rate and lower
value. Even assuming these possible adjustments to the size premium, equity risk premium,
and beta were made, Goldin Associates’ 12.2% discount rate likely falls within a reasonable
range.

                     (d) Guideline Publicly Traded Company Method

      The Guideline Publicly Traded Company Method used by Goldin Associates considered
four multiples: P/NBV, P/TBVE, LTM P/E, and Forward P/E. These multiples are commonly
considered when valuing a financial services company such as ResMor. Goldin Associates
calculated the four multiples using both (1) the stock prices as of November 19, 2008; and
(2) the average stock price over a 30-day period.

     Goldin Associates selected six guideline companies for consideration in applying the
Guideline Publicly Traded Company Method. Based on the mean of the four multiples and the
six guideline companies, Goldin Associates derived the following value ranges: P/NBV
multiples were C$71.1 million to C$85.3 million; P/TBVE multiples were C$69.1 million to
C$82.9 million; LTM P/E multiples were C$81.8 million to C$98.0 million; and Forward P/E
multiples were considered to be not meaningful because of the depressed level of earnings
projected in 2009.2458




2457 The Examiner’s Financial Advisors also considered the following sources, among others, of equity risk
    premium: BRADFORD CORNELL, THE EQUITY RISK PREMIUM (1999), SHANNON P. PRATT & ROGER J.
    GRABOWSKI, COST OF CAPITAL: APPLICATIONS AND EXAMPLES 89113 (3rd ed. 2008); SHANNON P. PRATT
    & ROGER J. GRABOWSKI, COST OF CAPITAL: APPLICATIONS AND EXAMPLES 117145 (4th ed. 2010); TIM
    KOLLER ET AL., VALUATION: MEASURING AND MANAGING THE VALUE OF COMPANIES 297306 (3rd ed.
    2005); TOM COPELAND ET AL., VALUATION: MEASURING AND MANAGING THE VALUE OF COMPANIES
    238245 (4th ed. 2010); and Pablo Fernandez, The Market Risk Premium Used in 2008 by Professors: A
    Survey With 1,400 Answers (IESE Bus. Sch., Working Paper, 2009), available at http://papers.ssrn.com/
    sol3/papers.cfm?abstract_id=1344209.
2458 Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of

    Residential Capital, LLC Regarding the Purchase of ResMor Trust Company by GMAC, LLC, dated Dec. 2,
    2008, at 21 [GOLDIN00127218].

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     The Examiner’s Financial Advisors view the guideline companies selected by Goldin
Associates as a reasonable group of companies to use as the basis for analysis. The
Examiner’s Financial Advisors performed a search for guideline companies and identified a
group that included some of the same companies used by Goldin Associates as well as certain
additional companies. In general, the mean and median multiples observed by Goldin
Associates were similar to the mean and median multiples from the Examiner’s Financial
Advisors’ group of guideline companies.

     For each of the six guideline companies used by Goldin Associates, the 30-day average
stock price was higher than the stock price as of November 19, 2008. This would imply that
the share prices, and therefore the trading multiples, for each of these guideline companies had
been generally declining over this timeframe. This trend would suggest that the estimated
values for ResMor using the 30-day average stock prices, which resulted in higher indications
of equity values, were less current than the value indications that were derived from the stock
prices as of November 19, 2008. The Examiner’s Financial Advisors adjusted the Goldin
Associates analysis by substituting the market prices as of January 1, 2009 (i.e., the actual
closing date), and the results were slightly lower than the value indications from the fairness
opinion. The P/NBV multiples decline from a range of 1.0x to 1.2x to a range of 0.9x to 1.0x,
while the LTM P/E multiples decline from a range of 7.1x to 8.5x to a range of 6.3x to 6.7x.
These lower multiples translate to declines in the range of equity value from C$71.4 million to
C$98.0 million to a range of C$64.6 million to C$77.6 million.

     It may be difficult, however, to make a meaningful comparison of the P/NBV multiples
between ResMor and the guideline companies because the book value of ResMor was
adjusted upwards to reflect the purchase price at the time of its acquisition in 2007 by GMAC
Canada, while certain assets of the guideline companies may be stated at historical cost less
reserves. As such, the guideline company multiples could be higher than ones appropriately
applicable to ResMor.

     In addition, when GMAC Canada acquired ResMor on November 1, 2007, the purchase
price of C$53.8 million was 1.94x NBV.2459 On that date, these guideline companies traded at
an average of 2.4x book value. Therefore, the transaction multiple for ResMor was 19% lower
than the average of the guideline group of companies. Applying this 19% discount to the
average guideline company P/NBV multiple of 1.0x as of the valuation date would result in a
multiple of 0.81x book value and an indicated value of C$57.6 million.

                     (e) Guideline M&A Method

     The Guideline M&A Method employed by Goldin Associates considered eight
transactions. The dates of the transactions ranged from June 27, 2002 to February 22, 2008.
Goldin Associates relied on the P/NBV multiples in deriving a range of indicated equity


2459 Notice of a Special Meeting of the Board of Directors of Residential Capital, LLC, dated Oct. 28, 2008, at

   RC40008767 [RC40008754].

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values in the Guideline M&A Method. The Examiner’s Financial Advisors have not identified
an explanation for Goldin Associates’ failure to consider earnings multiples because Goldin
Associates used them for the guideline public companies. If the mean or median LTM P/E
multiples were used, the resulting value from the Guideline M&A Method would be higher
than the indication from using mean or median P/NBV multiples. Based on the eight
transactions, the mean and median P/NBV multiples were 1.3x and 1.0x, respectively. The
indicated range of equity values derived from the Guideline M&A Method was C$71.6
million to C$90.7 million.2460

     Two common issues that generally arise when applying the Guideline M&A Method are
the availability of a sufficient number of transactions contemporaneous to the valuation date
and the comparability of the subject companies from the available transactions to the target
company. Only one potentially comparable transaction in Goldin Associates’ search results
closed after November 2007, when GMAC Canada originally acquired ResMor. The
acquisition of ResMor was completed at 1.9x NBV. Given the NBV of C$71.1 million as of
October 31, 2008, the value of ResMor would be approximately C$135.1 million if the 1.9x
book value were applied. Given the pace of change in the financial services industry in 2008,
however, especially in the months leading up to the valuation date, the Guideline M&A
Method most likely would provide a less reliable indication of value for ResMor compared to
other methods.

                     (f) Asset-Based Approach

     Goldin Associates also utilized the Adjusted Book Value Method under the Asset-Based
Approach but did not ultimately rely on it. The Adjusted Book Value Method employed by
Goldin Associates adjusted the book values of ResMor’s assets and liabilities as of
October 31, 2008 based on a range of low and high recovery estimates. In the Goldin
Associates analysis, the following asset line items had a range of recovery estimates other than
100%: (1) HFS mortgage loans had a low recovery estimate of 97.7% and a high recovery
estimate of 102.4%; (2) HFI mortgage loans had a low recovery estimate of 97.7% and a high
recovery estimate of 102.4%; (3) retained interests had a low recovery estimate of 98.4% and
a high recovery estimate of 101.6%; and (4) “[o]ther assets” had a low recovery estimate of
85.0% and a high recovery estimate of 95.0%.2461 Goldin Associates noted that “estimates of
recovery value are made by utilizing varying assumptions regarding discount rates,
prepayment rates and other assumptions used by ResMor management.”2462




2460 Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of

    Residential Capital, LLC Regarding the Purchase of ResMor Trust Company by GMAC, LLC, dated Dec. 2,
    2008, at 23 [GOLDIN00127218].
2461 Id. at 24.

2462 Id.



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      In addition, Goldin Associates included unallocated 2008 net operating expenses that
reduced the adjusted book values by C$4.5 million. In a footnote, Goldin Associates explained
that this amount represented the after-tax expenses that GMAC Canada incurred in supporting
ResMor business activities. There was no assumption of wind-down expenses because the
business was assumed to be a going concern. Goldin Associates does not appear to have
considered any goodwill or other intangible value not reflected on the balance sheet. Based on
this analysis, the range of adjusted book values was between C$51.6 million and C$76.9
million.

     Goldin Associates did not apply any weight to the Adjusted Book Value Method in
deriving its concluded range of equity values.

                     (g) Premiums And Discounts

     GMAC Canada’s interest in ResMor was a 100% controlling, closely-held interest.
Consideration of the perceived value of these attributes can be quantified by an appraiser
through certain premiums and discounts. For example, the Guideline Publicly Traded
Company Method is often considered to provide an indication of value on a marketable,
minority basis in that the market price is based on small blocks of stock traded in liquid
markets. Therefore, a premium for control and a discount for lack of marketability may be
warranted when applying public company valuation multiples to a 100% controlling, closely-
held interest. Discounts for lack of marketability may similarly be applicable in a DCF
Method or a Guideline M&A Method. Goldin Associates did not apply any discounts or
premiums in their analysis. If Goldin Associates had applied a marketability discount for the
closely held interest, the indicated value would have been lower.

                     (h) Sandler O’Neill Fairness Opinion

     AFI retained Sandler O’Neill to render a fairness opinion in connection with the ResMor
Sale. As with Goldin Associates, Sandler O’Neill performed various valuation analyses to
arrive at its fairness opinion from AFI’s perspective. It did not arrive at an independent
conclusion of value.2463

     Sandler O’Neill employed a different approach than Goldin Associates to the valuation of
ResMor because their objective was to determine whether the transaction was fair to AFI.
Based on its analysis, Sandler O’Neill indicated that the ResMor Sale would create a
significant benefit to the cost of funds of AFI’s Canadian auto financing business.2464 The
valuation model projected the cost of funds benefit annually from 2009 through 2014.2465




2463 See Sandler O’Neill Fairness Opinion Materials Prepared for Project Cub, dated Dec. 4, 2008 [SOP0000652].

2464 Id. at 11.

2465 Id.



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After deducting expenses and taxes, Sandler O’Neill calculated the annual net savings and
incremental free cash flows resulting from the impact of owning ResMor on AFI’s automotive
financing business.2466

     Sandler O’Neill assumed a range of value for the existing business between C$65.0
million to C$75.0 million but presented no supporting analysis.2467 In concluding on the range
of value for ResMor from the perspective of AFI, Sandler O’Neill added the value of the
existing ResMor business to the value of the incremental savings in the cost of funds.

     Based on the Sandler O’Neill analysis, the total value of ResMor to AFI was a broad
range of C$69.1 million and C$308.4 million.2468 This valuation was predicated on a
significant amount of financial synergies, namely savings from cost of funds. Even if this
incremental value could be realized through acquiring ResMor, it is questionable that a buyer
such as AFI would pay the shareholders of ResMor the value of such synergies.

     When evaluating the transaction for the benefit of AFI shareholders, the premise of value
employed by Sandler O’Neill most resembled an investment value from the perspective of a
specific buyer. Sandler O’Neill concluded on an extremely broad range of equity values for
alternative assumptions about the magnitude of low cost funding that AFI could realize
through ResMor. However, albeit unsupported, their valuation for ResMor’s existing business
as of the transaction date was lower than the valuation by Goldin Associates.




2466 Id. at 11, 16.

2467 Id. at 17.

2468 Id.



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                     (i) Overall Assessment Of Fair Market Value Indicia

     GMAC Canada acquired ResMor in November 2007 for C$53.8 million2469 and
subsequently invested C$25.0 million in the company in December 2007,2470 bringing the total
investment to C$78.8 million through the end of 2007. ResMor was expected to record earnings
in 2008 of C$16.5 million and incur operating expenses of C$10 million that were excluded from
the ResMor financials but recognized at GMAC Canada.2471 As a result, GMAC Canada’s net
investment in ResMor as of the closing of the ResMor Sale was approximately C$85.3 million,
as summarized in the table below.




     The Examiner’s Financial Advisors considered the change in stock price for the guideline
public companies as identified by Goldin Associates and Sandler O’Neill between November 1,
2007, when GMAC Canada acquired ResMor, and December 31, 2008, immediately prior to the
closing of the ResMor Sale. Over that timeframe, shares of most of the companies declined by
more than 50%. If this level of decline were applied to GMAC Canada’s total investment in
ResMor, the resulting value would be less than half of the C$85.3 million noted above.

     Additionally, the Examiner’s Financial Advisors analyzed the change in stock prices and
trading multiples between the transaction close date of January 1, 2009, and the date that the
market information was obtained in the Goldin Associates fairness opinion (i.e., November 19,
2008). Overall, the trading multiples were lower as of January 1, 2009, and would result in
equity values that were approximately 10% to 20% lower than the indicated value range
concluded by Goldin Associates.




2469 Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of

    Residential Capital, LLC Regarding the Purchase of ResMor Trust Company by GMAC, LLC, dated Dec. 2,
    2008, at 10 [GOLDIN00127218].
2470 Id.

2471 Notice of a Special Meeting of the Board of Directors of Residential Capital, LLC, dated Oct. 28, 2008, at

    RC40008771 [RC40008754].

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                 (5) Conclusion Regarding Reasonably Equivalent Value

     Based upon the above discussion and analysis and the totality of the circumstances,
including but not limited to the fairness opinions by Goldin Associates and Sandler O’Neill,
the GMAC Canada investment in ResMor in the year before this transaction with AFI, and
other market indicators, the Examiner concludes that the evidence supports the proposition
that RFC, as the equity owner of GMAC Canada, and GMAC Canada received reasonably
equivalent value in the ResMor Sale.

             g. US/UK Broker-Dealer Sale By RFC To AFI In May 2009

     Pursuant to a Membership Interest and Share Purchase Agreement dated March 31, 2009,
on May 1, 2009,2472 RFC sold its interests in Ally Securities and RFCIL to AFI for $42.3
million and $18.1 million, respectively (i.e., $60.4 million total).2473 RFCIL owned all of the
outstanding share capital of RFSCIL, a broker-dealer registered with the Financial Services
Authority in the United Kingdom, so AFI acquired 100% of ResCap’s U.K. broker-dealer
business in addition to ResCap’s U.S. broker-dealer business, Ally Securities.2474 With respect
to the Ally Securities interests, on April 30, 2009, AFI also paid to RFC an amount equal to
the entire outstanding principal due and payable under the existing $50 million subordinated
loan between RFC and Ally Securities.2475

     Prior to closing, Goldin Associates delivered a fairness opinion dated March 20, 2009, to
the Special Committee of Independent Directors indicating that the consideration to be
received by ResCap in connection with the transaction was fair from a financial point of view
to ResCap and its creditors (other than AFI).2476

     As set forth in the discussion and analysis below and based on the totality of the
circumstances, the Examiner concludes that the evidence supports the proposition that RFC
received reasonably equivalent value in the US/UK Broker-Dealer Sale.




2472 Membership Interest and Share Purchase Agreement between RFC and GMAC, LLC, dated Mar. 31, 2009

   [RC00026472]; Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2009), at 64.
2473 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2009), at 64.

2474 Membership Interest and Share Purchase Agreement between RFC and GMAC, LLC, dated Mar. 31, 2009

   [RC00026472].
2475 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2009), at 64.

2476 Opinion Letterfrom Goldin Associates to the Committee of the Independent Members of the Board of
   Directors of ResCap (Mar. 20, 2009) [RC00027931].

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                  (1) Overview Of Ally Securities And RFCIL

                     (a) Ally Securities

     Founded in 1990, Ally Securities was a registered broker-dealer under the Exchange Act,
headquartered in Bethesda, Maryland. Ally Securities underwrote, distributed, and provided
capital market liquidity for MBS and RMBS sold by its affiliate entities to institutional
investors and financial institutions. It also traded MBS, RMBS, and other fixed income
securities with brokers, dealers, and institutional investors for its proprietary account.2477

     Ally Securities “[u]nderwrote a significant portion of ResCap’s securitization activity
(over $100 billion, and $65 billion since 2005),” and “also loaned funds to ResCap on a short-
term basis.”2478 “[Ally Securities] competed with larger Wall Street broker-dealers that
engaged in capital markets activity and market making of residential [MBS] and whole
loans.”2479

     At the time of the transaction, Ally Securities was largely inactive because of various
factors, including economic and financial conditions, ResCap’s financial and operational
circumstances, and its clearing capabilities as a broker-dealer being inhibited by State Street’s
credit concerns. Its assets consisted primarily of liquid agency RMBS and cash, and its
activities were concentrated on acting as an agent or broker on sales of ResCap’s Principal
Investment Activity (“PIA”) inventory and opportunistically evaluating bids on its own
inventory.2480 Ally Securities’ headcount had declined from approximately sixty in 2007 to
only fourteen as of March 2009, including three in senior management, two traders, three sales
professionals, and two restructuring professionals, among others. ResCap provided Ally
Securities with additional administrative and trading personnel, as well as with various
administrative services, including equipment rental, data processing, maintenance, and other
corporate services.2481




2477 Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of

    Residential Capital Regarding the Purchase of Residential Funding Securities, LLC and RFC Investments
    Limited by GMAC, LLC, dated Mar. 18, 2009, at 11 [GOLDIN00132386].
2478 Id.

2479 Id. at 16.

2480 Id. at 11.

2481 Id. at 12.



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    Appendix V.F.4.g(1)(a) provides the historical financial statements of Ally Securities. From
December 31, 2005 to February 28, 2009, Ally Securities’ total assets and total equity declined
83% and 51%, respectively, as depicted in the following table.2482




     Similarly, over the same period, Ally Securities’ operating results show a dramatic decline
in underwriting activity, net interest income, and net income (loss), as depicted in the following
table.2483




                      (b) RFCIL And RFSCIL

     RFCIL supported ResCap’s business activities, including those of Ally Securities, through
RFSCIL, its wholly owned UK-broker-dealer subsidiary. Founded in London in 1997, RFSCIL
supported Ally Securities’ activities in Europe and comprised 100% of the assets and liabilities
of RFCIL. RFSCIL had five employees, including two in senior management and three
investment advisors. 2484

     Historically, RFSCIL placed securities sold by ResCap to institutional investors and
financial institutions in Europe and did not trade securities for its proprietary account or provide
advisory services. With the help of its affiliates, RFSCIL served as a “one-stop shop” for




2482 See id. at 13.

2483 See id. at 14.

2484 Id. at 25.



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European investors and, at the peak of its activity in 2006, placed an annual volume of securities
totaling $10 billion. RFSCIL competed with larger European broker-dealers that engaged in
capital markets activity and market making of residential MBS and whole loans.2485

     At the time of the transaction, RFSCIL was largely inactive because of various factors,
including economic and financial conditions and ResCap’s financial and operational
circumstances. Its assets consisted primarily of cash and other short-term investments, and its
activities were concentrated on acting as the international agent or broker on sales of ResCap’s
PIA inventory.2486

     Appendix V.F.4.g(1)(b) provides the historical financial statements of RFSCIL. From
December 31, 2005 to February 28, 2009, RFSCIL’s total assets and total equity increased 39%
and 34%, respectively, as depicted in the following table.2487




     However, over the same period, RFSCIL’s operating results show a dramatic decline in net
interest income and net income (loss), as depicted in the following table.2488




                      (2) Summary Of Transaction And Process

     As previously noted, ResCap’s US/UK broker-dealers had been largely inactive in the year
before the sale to AFI. Jones, CEO of ResCap from June 2007 to July 2008, recalled having
considered closing ResCap’s broker-dealer operations because any value was “primarily the

2485 Id. at 25, 28.

2486 Id. at 25.

2487 Id. at 26.

2488 See id. at 27.



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employee capabilities” and “it wasn’t at all clear that we were going to be able to deliver the
employees to whoever the purchaser was.”2489 Jones further recalled that “as Marano came on
with some amount of expertise in that area” there was an ongoing dialogue about whether the
broker-dealers should be moved to AFI and how else they could be used.2490

     On October 10, 2008, the ResCap Board discussed the possibility of selling its US/UK
broker-dealers to AFI, including the need to obtain a fairness opinion should the negotiations
with AFI proceed.2491 On October 28, 2008, Robert Cole presented the ResCap Board with an
overview of the proposed sale and estimated total proceeds of $118 million.2492 Marano
reported to the ResCap Board on November 3, 2008, that management was proceeding with
the transaction negotiations with AFI.2493 On November 12, 2008, Goldin Associates was
engaged by the Special Committee of Independent Directors to render an opinion on the
fairness to ResCap and its creditors of the proposed sale of the Ally Securities interests.2494
The engagement letter was silent regarding a fairness opinion on the proposed sale of the
RFCIL interests although Goldin Associates ultimately prepared a fairness opinion for the sale
of those interests as well. From November 12, 2008 until March 1, 2009, however, the ResCap
Board postponed further discussions on the potential sale.

     On March 1, 2009,2495 the ResCap Board resumed its deliberations regarding the US/UK
Broker-Dealer Sale and heard a report from Robert Conway on the terms proposed by AFI.
AFI offered to purchase Ally Securities for 1.0x book value as of February 28, 2009, less
$500,000, plus payment of the $50 million loan due to RFC, and offered to purchase RFCIL
for 1.0x book value as of February 28, 2009.2496 Immediately following the meeting, the
Independent Directors convened with their counsel, Morrison Cohen, to discuss the
proposal.2497 Goldin Associates presented its valuation analysis to the Special Committee of


2489 Int. of J. Jones, Nov. 30, 2012, at 111:10–112:1.

2490 Id. at 112:12–114:4.

2491 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Oct. 10, 2008, at

    RC40005881 [RC40005652].
2492 Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Oct. 28, 2008, at

    RC40005896 [RC40005652].
2493 Minutes
           of a Special Meeting of the Board of Directors of Residential Capital, LLC, Nov. 3, 2008, at
    RC40005900 [RC40005652].
2494 Letter from Goldin Associates to the Committee of the Independent Members of the Board of Directors of

    ResCap (Nov. 12, 2008) [EXAM00233465].
2495 Minutes
           of a Special Meeting of the Board of Directors of Residential Capital, LLC, Mar. 1, 2009, at
    RC40006068–70 [RC40005949].
2496 Notice of a Special Meeting of the Board of Directors of Residential Capital, LLC, dated Mar. 1, 2009 at

    RC40011117–19 [RC40011115].
2497 Minutes
           of a Special Meeting of the Board of Directors of Residential Capital, LLC, Mar. 1, 2009, at
    RC40006070 [RC40005949].

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Independent Directors on March 18, 2009,2498 and issued its opinion on March 20, 2009, that
the consideration to be received in connection with the US/UK Broker Dealer Sale was fair
from a financial point of view to ResCap and its creditors (other than AFI).2499

     On March 23, 2009, Marano informed the ResCap Board that the Special Committee of
Independent Directors had completed its review and approved the US/UK Broker-Dealer
Sale.2500 On March 25, 2009, the ResCap Board acted on the recommendation of the Special
Committee of Independent Directors and signed a written consent and authorization for
ResCap executives to carry out the transaction.2501 The term sheets attached as Exhibit A and
B to the authorization signed by the ResCap Board, however, were outdated and did not
include the $500,000 reduction to the net book value of Ally Securities as of February 28,
2009 in the determination of the purchase price.2502 This omission may have been a clerical
error, as the presentation by Goldin Associates to the Special Committee of Independent
Directors, which led to their recommendation to the ResCap Board to pursue the sale, included
the updated terms—including the $500,000 reduction to Ally Securities’ net book value.

     The ResCap Board resolved that, based upon its review and consideration of the Special
Committee of Independent Directors, the aggregate consideration was fair from a financial point
of view to ResCap, and that the terms of the transaction were not materially less favorable to
ResCap than those that could reasonably have been obtained in a comparable arm’s-length
transaction between ResCap and an unaffiliated party.2503

     Once a decision was made to proceed with the US/UK Broker-Dealer Sale to AFI, the
transaction moved quickly. RFC and AFI executed a Membership Interest and Share Purchase
Agreement on March 31, 2009, and closed the sale approximately one month later on May 1,
2009.2504



2498 Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of

    Residential Capital Regarding the Purchase of Residential Funding Securities, LLC and RFC Investments
    Limited by GMAC, LLC, dated Mar. 18, 2009 [GOLDIN00132386].
2499 Opinion Letter from Goldin Associates to the Committee of the Independent Members of the Board of
    Directors of ResCap (Mar. 20, 2009) [RC00027931].
2500 Minutes
           of Special Meeting of Board of Residential Capital, LLC, Mar. 23, 2009, at RC40006091–93
    [RC40005949].
2501 Written
           Consent of the Board of Directors of Residential Capital, LLC, dated Mar. 25, 2009, at
    RC40006094–108 [RC40005949].
2502 Ex. A and B to the Written Consent of the Board of Directors of Residential Capital, LLC, dated Mar. 25,

    2009, at RC40006103–04 [RC40005949].
2503 Written Consent of the Board of Directors of Residential Capital, LLC, dated Mar. 25, 2009, at RC00021244

    [RC00021236].
2504 Membership Interest and Share Purchase Agreement between RFC and GMAC, LLC, dated Mar. 31, 2009

    [RC00026472]; Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2009), at 63.

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     RFC received cash consideration of $42.3 million and $18.1 million for the interests in Ally
Securities and RFCIL, respectively. In addition, with respect to the Ally Securities interests, AFI
paid to RFC an amount equal to the entire outstanding principal due and payable under the
existing $50 million subordinated loan between RFC and Ally Securities.2505

   The following diagram summarizes the value exchanged between RFC and AFI in the US/
UK Broker-Dealer Sale.




                 (3) Third-Party Conclusion Of Value

     As previously noted, on March 20, 2009, Goldin Associates opined that the proposed
transaction terms set forth in the March 13, 2009 draft of the purchase agreement were fair from
a financial point of view to ResCap and its creditors.2506 Appendices V.F.4.g(4)(a) and
V.F.4.g(4)(b) provide a summary of the Ally Securities and RFCIL/RFSCIL valuation analyses
performed by Goldin Associates.
2505 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Aug. 7, 2009), at 64.

2506 Opinion Letter from Goldin Associates to the Committee of the Independent Members of the Board of Directors

   of ResCap (Mar. 20, 2009) [RC00027931].

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      Based on Goldin Associates’ assessment that both Ally Securities and RFCIL had limited
ability to continue as independent going concerns, the Adjusted Book Value Method under the
Asset-Based Approach was determined to be the most appropriate indicator for determining
the transaction’s fairness.2507 Goldin Associates noted in its March 18, 2009 presentation to
the Special Committee of Independent Directors that the “net asset value represent[ed] a floor
on a range of values,” and that it did not take into account the future value of Ally Securities
or RFCIL to AFI.2508

                  (4) Analysis Of Third-Party Fairness Opinion

     Goldin Associates expressed no opinion on what value could actually be received by
RFC in an open market sale of its interests. Rather, its opinion was limited to the fairness of
the proposed transaction, from a financial point of view, to ResCap and its creditors (other
than AFI).2509

      According to the Goldin Associates presentation to the Special Committee of
Independent Directors on March 18, 2008, Ally Securities and RFCIL each had limited ability
to continue as an independent going concern in the then-current market, and was best valued
at its liquidation or net asset value of 0.97x book value.2510 Goldin Associates specifically
concluded with regard to Ally Securities that ResCap’s interest in Ally Securities was illiquid
and marketable to only a very limited group of investors, and that the range of implied
valuation multiples of 0.74x to 1.07x, arguably, should be reduced because of the illiquidity
and lack of marketability of the Ally Securities interests.2511




2507 Draft Goldin Associates Presentation to the Committee of Independent Members of the Board of Directors of

    Residential Capital Regarding the Purchase of Residential Funding Securities, LLC and RFC Investments
    Limited by GMAC, LLC, dated Mar. 18, 2009, at 21, 33 [GOLDIN00132386].
2508 Id.

2509 See Opinion Letter from Goldin Associates to the Committee of the Independent Members of the Board of

    Directors of ResCap (Mar. 20, 2009) [RC00027931].
2510 SeeDraft Goldin Associates Presentation to the Committee of Independent Members of the Board of
    Directors of Residential Capital Regarding the Purchase of Residential Funding Securities, LLC and RFC
    Investments Limited by GMAC, LLC, dated Mar. 18, 2009, at 21, 33 [GOLDIN00132386].
2511 Id. at 22.



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                         (a) Goldin Associates Valuation Analysis Of Ally Securities

     Appendix V.F.4.g(4)(a) provides a summary of the Ally Securities valuation analysis
performed by Goldin Associates. In summary, Goldin Associates employed three valuation
methodologies in forming its fairness opinion: (1) the Guideline Publicly Traded Company
Method under the Market Approach; (2) the Guideline M&A Method under the Market
Approach; and (3) the Adjusted Book Value Method under the Asset-Based Approach, the
results of which are summarized in the following table.2512




                            (i) Guideline Publicly Traded Company Method

     The Guideline Publicly Traded Company Method used by Goldin Associates considered
two multiples: P/NBV and P/TBVE. These multiples are commonly considered when completing
a valuation of a financial services company such as Ally Securities. However, given the lack of
any significant operational activity at the time of the valuation analysis, the Examiner’s
Financial Advisors view the relevance of this method for a valuation of Ally Securities as
questionable. The Guideline Publicly Traded Company Method is generally not meaningful in
determining the value of an entity with minimal operating activities.

     Goldin Associates selected ten guideline companies for consideration in applying the
Guideline Publicly Traded Company Method. Based on these ten guideline companies, Goldin
Associates calculated the mean P/NBV multiple to be 0.90x and the median P/NBV multiple to
be 0.74x. The mean P/TBVE multiple was 1.10x, and the median P/TBVE multiple was 0.80x.
Given these indications, the range of multiples was between 0.74x and 1.10x, with a resulting
range in equity value of between $32.7 million and $48.6 million.2513




2512 Id. at 21.

2513 Id. at 13, 16–17.



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                         (ii) Guideline M&A Method

     The Guideline M&A Method employed by Goldin Associates considered eight
transactions. The dates of the transactions ranged from June 2, 2003 (earliest) to July 1, 2008
(most recent). Goldin Associates relied on the P/NBV multiples in deriving a range of
indicated values. Based on the eight transactions, the mean P/NBV multiple was 1.80x, and
the median P/NBV multiple was 1.60x. Using this range of multiples, the indicated range of
equity values derived from the Guideline M&A Method was between $70.7 million and $79.5
million.2514

     As with the Guideline Publicly Traded Company Method, given the lack of any
significant operational activity at the time of the valuation analysis, the Examiner’s Financial
Advisors view the relevance of the Guideline M&A Method for a valuation of Ally Securities
as questionable. The Guideline M&A Method is generally not meaningful in determining the
value of entity with minimal operating activities.

                         (iii) Adjusted Book Value Method

     The Adjusted Book Value Method employed by Goldin Associates under the Asset-
Based Approach adjusted the book values of Ally Securities’ assets and liabilities as of
February 28, 2009 based on recovery estimates. In the Goldin Associates analysis, cash and
cash equivalents and trading securities comprised the preponderance of the assets (i.e., $85.1
million out of $95.8 million in total assets) and were valued at 100% of book value.
“Securities owned, not readily marketable – non-agency” comprised approximately $10.7
million of the $95.8 million in total assets and were valued at 90% of book value. Goldin
Associates noted that, “estimates of recovery are made by utilizing varying assumptions
regarding default rates, loss severities and other assumptions.” In addition, Goldin Associates
deducted total wind-down expenses, professional fees, and occupancy costs of $0.5 million
from the adjusted asset value. Based on this analysis, the net proceeds from liquidation of
assets were estimated to be $42.6 million. Comparing this to the book value of $44.2 million
indicates that the expected proceeds would be $1.5 million lower than book value of equity
and implies a P/NBV multiple of 0.97x.2515

     In the case of Ally Securities, where there was no significant operational activity, the
Examiner’s Financial Advisors view the Adjusted Book Value Method as the most appropriate
valuation method.




2514 Id. at 13, 18–19.

2515 Id. at 20.




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                      (b) Goldin Associates Valuation Of RFCIL/RFSCIL

     Appendix V.F.4.g(4)(b) provides a summary of the RFCIL/RFSCIL valuation analysis
performed by Goldin Associates. In summary, Goldin Associates employed three valuation
methodologies in forming its fairness opinion: (1) the Guideline Publicly Traded Company
Method under the Market Approach; (2) the Guideline M&A Method under the Market
Approach; and (3) the Adjusted Book Value Method under the Asset-Based Approach, the
results of which are summarized in the following table:2516




                         (i) Guideline Publicly Traded Company Method

     The Guideline Publicly Traded Company Method used by Goldin Associates considered
two multiples: P/NBV and P/TBVE. These multiples are commonly considered when completing
a valuation of a financial services company such as RFCIL. However, given the lack of any
significant operational activity at the time of the valuation analysis, the Examiner’s Financial
Advisors view the relevance of this method for a valuation of RFCIL as questionable; the
Guideline Publicly Traded Company Method is generally not meaningful in determining the
value of an entity with minimal operating activities.

     Goldin Associates selected eleven guideline companies for consideration in applying the
Guideline Publicly Traded Company Method. Based on these eleven guideline companies,
Goldin Associates calculated the mean P/NBV multiple to be 0.77x and the median P/NBV
multiple to be 0.92x. The mean P/TBVE multiple was 1.03x, and the median P/TBVE multiple
was 1.12x. Given these indications, the range of multiples was between 0.77x and 1.12x, and the
resulting range in value was $13.1 million to $19.0 million.2517

                         (ii) Guideline M&A Method

    The Guideline M&A Method employed by Goldin Associates considered three transactions.
The dates of the transactions range from April 13, 2005 (earliest) to May 23, 2008 (most recent).

2516 Id. at 33.

2517 Id. at 26, 29.



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Goldin Associates relied on the P/NBV multiples in deriving a range of indicated values.
Based on the three transactions, the mean P/NBV multiple was 2.34x and the median P/NBV
multiple was 2.39x. Using this range of multiples, the indicated range of equity values derived
from the Guideline M&A Method was between $39.7 million and $40.6 million.2518

     As with the Guideline Publicly Traded Company Method, given the lack of any
significant operational activity at the time of the valuation analysis, the Examiner’s Financial
Advisors view the relevance of the Guideline M&A Method for a valuation of RFCIL as
questionable. The Guideline M&A Method is generally not meaningful in determining the
value of an entity with minimal operating activities.

                      (iii) Adjusted Book Value Method

     The Adjusted Book Value Method employed by Goldin Associates under the Asset-
Based Approach adjusted the book value of RFCIL’s assets and liabilities as of February 28,
2009 based on recovery estimates. In the Goldin Associates analysis, cash and short-term
deposits comprised the preponderance of the assets and were valued at 100% of book value.
Prepaid expenses, accounts receivable and fixed assets were insignificant in amount and were
valued at 0% to 50% of book value due to liquidation costs. In addition, Goldin Associates
deducted total wind-down expenses of $0.5 million. Based on this analysis, the net proceeds
from liquidation of assets were estimated to be $16.5 million. Comparing this to the book
value of approximately $17.0 million indicates that the expected proceeds would be $0.5
million lower than the book value of equity and implies a P/NBV of 0.97x.2519

                          (iv) Premiums And Discounts

     RFC’s interests in Ally Securities and RFCIL were 100% controlling, closely-held
interests. Consideration of the perceived value of these attributes relative to guideline
indications can be quantified by an appraiser through certain premiums (i.e. control) and
discounts (i.e. lack of marketability for a closely held interest). Goldin Associates did not
apply any discounts or premiums in their analysis.

     The lack of any significant operational activity at the time of the transaction would most
likely decrease the valuation multiple that would be paid by a market participant interested in
acquiring the US/UK broker-dealers. Therefore, for both Ally Securities and RFCIL, a buyer
would likely apply a discount to any trading multiples observed in the Guideline Publicly
Traded Company Method and Guideline M&A Method. If such a discount were applied, the
equity value resulting from such analysis would be lower.




2518 Id. at 33.

2519 Id. at 32.



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                   (c) Overall Assessment Of Fair Market Value Indicia

     In summary, the Examiner’s Financial Advisors consider the Adjusted Book Value
Method to be a reliable indicator of the Fair Market Value of Ally Securities and RFCIL,
while the Guideline Publicly Traded Company Method and the Guideline M&A Method have
limited relevance for companies with minimal operating activity. The assets of these entities
were principally carried on the balance sheets at fair value. Under the circumstances, the
Examiner’s Financial Advisors consider the valuation of the assets of the US/UK broker-
dealers at approximately book value to be appropriate, if not somewhat optimistic. Given the
state of the financial services industry and capital markets in early 2009, and the resulting
limitations on the operations of Ally Securities and RFCIL, their recent trend of operating
losses was not likely to abate. Further, a discount for lack of marketability could be
appropriate in light of market conditions at the time when valuing a portfolio of mortgage-
backed securities and asset-backed securities.

      As described in Section VIII, Third-Party Claimants assert that Ally Securities is directly
liable for false statements in the RMBS Offering Documents. These parties allege that Ally
Securities enabled the Debtors’ fraudulent conduct by providing critical underwriting services
in connection with the securitizations, including by reviewing, marketing and distributing
false and misleading RMBS Offering Documents. Plaintiffs have asserted several causes of
action against Ally Securities, including claims based on (1) federal and state securities law;
(2) common-law fraud, fraudulent inducement, and aiding and abetting fraud; and
(3) negligent misrepresentation. The consideration received by RFC in the US/UK
Broker-Dealer Sale was not adjusted to account for any contingent liability related to potential
third-party claims.

               (5) Conclusion Regarding Reasonably Equivalent Value

     Based upon the above discussion and analysis and the totality of the circumstances,
including but not limited to the Goldin Associates valuation analyses and fairness opinion and
prevailing market conditions, the Examiner concludes that the evidence supports the
proposition that RFC received reasonably equivalent value in the US/UK Broker-Dealer Sale.




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G. MITCHELL BOND TRANSACTION

    1. Posting Of Bond In Mitchell Litigation

     As part of the Investigation, the Examiner reviewed ResCap’s posting of two litigation
bonds in connection with the Mitchell case. The Mitchell bond posting was identified as a
“Specified Transaction” in the Committee Rule 2004 Motion,2520 and the scope of the
Investigation was guided in part by the Bankruptcy Court’s observation that the Committee
Rule 2004 Motion “sets the appropriate scope parameter.”2521 Accordingly, the Examiner
presents the following review and analysis of the Mitchell bond posting.

             a. Procedural Background And Trial

     The Mitchell Plaintiffs filed a putative class action lawsuit on July 29, 2003 in state court
in Kansas City, Missouri against the Mitchell Defendants—including Debtors RFC and
Homecomings Financial (a subsidiary of RFC)2522—alleging violations of the MSMLA, which
places limits on the amount of closing costs and fees that second mortgage lenders may charge
loan consumers in Missouri.2523 The Debtors’ potential liability arises from 248 second
mortgage loans originated by Mortgage Capital Resource Corporation and assigned to RFC.
The Mitchell Plaintiffs asserted that the Mitchell Defendants were strictly liable as assignee
mortgagees pursuant to the assignee provisions of HOEPA.2524 The trial court certified a class
consisting of all individuals who obtained a second mortgage loan on Missouri real property
from Mortgage Capital Resource Corporation on or after July 29, 1997.2525




2520 Committee Rule 2004 Motion, Ex. B, at 6.

2521 Examiner Memorandum Opinion, at 6 n.4.

2522 No other ResCap entities are Mitchell Defendants. The other Mitchell Defendants are Household Finance

   Corp. III and Wachovia Equity Servicing.
2523 MO. REV. STAT. §§ 408.231–241. The Mitchell     Plaintiffs’ claims of direct liability were brought under
   Missouri’s Second Mortgage Loan Act, a consumer protection law enacted in 1979 that was “designed to
   regulate the business of making high interest second mortgage loans on residential real estate.” Mitchell
   Appeal Decision, at 486 (quoting Avila v. Cmty. Bank of Va., 143 S.W.3d 1, 4 (Mo. Ct. App. 2003)).
2524 15 U.S.C. § 1641. The Mitchell Plaintiffs’ claims of assignee liability are based HOEPA, a federal law

   enacted in 1994 that “provides that assignees of HOEPA (high interest) loans ‘are derivatively liable’ for the
   conduct of the assignor . . . .” Mitchell Appeal Decision, at 487 (quoting Schwartz v. Bann–Cor Mortg., 197
   S.W.3d 168, 179 (Mo. Ct. App. 2006)). In enacting HOEPA, Congress “intended to place the increased
   burden of inquiring into the legitimacy of the lending practices engaged in by the original lender upon the
   assignees of HOEPA loans.” Id. at 487 (quoting Bryant v. Mortg. Capital Res. Corp., 197 F. Supp. 2d 1357,
   1365 (N.D. Ga. 2002)).
2525 Mitchell Appeal Decision.



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     The case was tried in circuit court in Kansas City, Missouri from December 3, 2007
through January 4, 2008.2526 At the close of the Mitchell Plaintiffs’ case, the court directed a
partial verdict for the Mitchell Plaintiffs, holding: (1) Mortgage Capital Resource Corporation
violated the MSMLA by charging illegal closing fees; and (2) the Mitchell Defendants, as
assignee mortgagees, were strictly liable for such violations.2527 The jury assessed damages,
including compensatory and punitive damages, of $99,651,115 against RFC and $706,042
against Homecomings Financial.2528

     On October 14, 2008, RFC filed a Notice of Appeal to the Missouri Court of Appeals.2529
On October 24, 2008, the circuit court issued an order requiring each of the Mitchell
Defendants to post supersedeas bonds—including post-judgment interest at nine percent per
annum over a three year anticipated appeal period—by November 3, 2008 to stay execution of
the judgment.2530 RFC was required to post a bond in the amount of $126,556,917,2531 and
Homecomings Financial was required to post a bond in the amount of $896,674.2532




2526 Mitchell Trial Order.

2527 Mitchell Appeal Decision, at 486.

2528 See Amended Order, dated Oct. 24, 2008 [EXAM10537447]. Approximately one month after the damages

    verdict, on February 14, 2008, William Solomon, General Counsel of AFI, presented a legal report to the AFI
    Board which described the damages assessed against ResCap entities in the Mitchell litigation and noted,
    among other things, that “ResCap is submitting a claim for possible reimbursement under an old Integrated
    Risk insurance policy acquired for the 2000–2003 time period (subject to a $5 million deductible).” See
    Legal Report to the Board of Directors of GMAC LLC, dated Feb. 14, 2008, at ALLY_PEO_0004558
    [ALLY_PEO_0004442]. As explained in a June 24, 2010 presentation to the AFI Board, AFI has numerous
    insurance programs, the largest of which is the “Management Liability Blend.” See Ally Financial Corporate
    Insurance Update, dated June 24, 2010, at ALLY_0262858 [ALLY_0262724]. The Management Liability
    Blend includes an “Errors & Omissions” policy that provides coverage with a $100 million limit and a $25
    million deductible in the “event that third parties allege negligence for services rendered or failed to be
    rendered by Ally.” See id. at ALLY_0262858. The presentation also notes that “[o]ne of Ally’s most
    significant claims is from 2003 (Mitchell) involving ResCap and is currently on appeal and bonded for
    $127M.” See id. at ALLY_0262862 [ALLY_0262724]. In light of the Examiner’s conclusions regarding the
    Mitchell bond posting, the Examiner determined it was not an effective use of Estate resources to investigate
    the results of ResCap’s insurance claim.
2529 Residential Capital, LLC, Quarterly Report (Form 10-Q/A) (Aug. 25, 2009), at 104.

2530 Amended Order, dated Oct. 24, 2008 [EXAM10537447].

2531 Order
         Approving the Amount of Supersedeas Bond, dated Nov. 3, 2008, at EXAM10278908
    [EXAM10278905].
2532 Order
         Approving the Amount of Supersedeas Bond, dated Nov. 3, 2008, at EXAM10278916
    [EXAM10278913].

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               b. ResCap/AFI Bond Posting Procedure And Approval

    On October 10, 2008, Thomas Marano, CEO of ResCap, gave a presentation to the AFI
Board explaining that, absent a cash infusion, “ResCap is forecast to deplete its liquidity on
November 17, 2008.”2533 In connection with that presentation, William Solomon, General
Counsel of AFI, addressed questions from board members regarding the bond posting in the
Mitchell litigation.2534

      At special meetings held on October 16 and 17, 2008, ResCap’s General Counsel Tammy
Hamzehpour updated the ResCap Board on matters relating to the Mitchell litigation,
including the supersedeas bond. The ResCap Board discussed the “consequences of not
posting the bond,” including the possibility that non-payment would “result ultimately in a
default under numerous credit facilities.”2535 The minutes reflect that Marano and Timothy
Pohl of Skadden participated in the discussion on October 16, 2008.2536 On October 17, 2008,
at a special meeting of the AFI Board, Marano noted that the bond posting in the Mitchell
litigation would result in a “significant outflow of cash in October 2008” for ResCap.2537

     On October 28, 2008, the ResCap Board met and “discussed key components of the
[ResCap] liquidity drain . . . such as the collateral posting in the Mitchell litigation . . . .”2538 In
connection with that discussion, ResCap Treasurer Jerry Lombardo stated that “important
events are in process that will provide significant upside and runway to meet the Company’s
near-term cash and capital needs.”2539 The ResCap Board held another meeting to review
ResCap’s liquidity balance on October 30, 2008. At that meeting, the ResCap Board discussed
“various transactions and options that would provide sufficient liquidity,” including “the
possibility of [AFI] posting the bond required in the Mitchell litigation on ResCap’s
behalf.”2540

2533 See Project Scout Discussion Materials to GMAC Board, dated Oct. 10, 2008, at ALLY_PEO_0003777

    [ALLY_PEO_0003752]; Minutes of a Special Meeting of the Board of GMAC LLC, Oct. 10, 2008, at
    ALLY_PEO_0001297 [ALLY_PEO_0001009].
2534 Minutes
           of a Special Meeting of the Board of GMAC LLC, Oct. 10, 2008, at ALLY_PEO_0001297
    [ALLY_PEO_0001009].
2535 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 16, 2008, at RC40005882

    [RC40005652]; Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 17, 2008, at
    RC40005884 [RC40005652].
2536 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 16, 2008, at RC40005882

    [RC40005652].
2537 Minutes
           of a Special Meeting of the Board of GMAC LLC, Oct. 17, 2008, at ALLY_PEO_0001299
    [ALLY_PEO_0001009].
2538 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 28, 2008, at RC40005894

    [RC40005652].
2539 Id.

2540 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Oct. 30, 2008, at RC40005897

    [RC40005652].

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      On October 31, 2008, Marano gave a presentation to the AFI Board regarding the expected
liquidity drain at ResCap for November 2008, including the bond posting in the Mitchell
litigation.2541 The presentation noted that ResCap’s liquidity balance as of October 31, 2008 was
approximately $534 million, and projected a negative liquidity balance by mid-November
2011.2542 During the presentation, the AFI Board and Marano discussed “the level of support
that would provide sufficient cash runway and avoid a bankruptcy filing by ResCap.”2543
Although the minutes reflect consideration by the AFI Board of various transactions meant to
allow ResCap to remain in compliance with certain TNW covenants, the AFI Board did not
specifically authorize posting the Mitchell supersedeas bond on ResCap’s behalf. The AFI
Board resolved to provide “capital contributions to ResCap in an amount necessary to . . .
exceed the [TNW] covenants by $100 million . . . up to, and not to exceed under any
circumstances, $931 million.”2544

    On November 3, 2008, ResCap posted collateral to secure two supersedeas bonds in the
Mitchell litigation in the aggregate amount of $127,453,591—one bond for RFC in the
amount of $126,556,917 and one bond for Homecomings Financial in the amount of
$896,674.2545 The bonds were fully collateralized by cash on deposit in a bank account.2546

     On November 11, 2008, the AFI Board again met to discuss ResCap’s liquidity concerns.
At that meeting, AFI VP of Finance Tazewell Rowe reported that ResCap was “projecting
negative cash balances” beginning November 17, 2008, and needed cash support to meet
operating needs and equity support to maintain compliance with certain consolidated TNW
financial covenants.2547 Marano informed the AFI Board that additional support from AFI,
including in the form of AFI providing collateral for the Mitchell litigation bond, “would
provide ResCap with sufficient runway until the bond exchange [was] successfully closed and
the matters associated with the bank holding company initiative completed.”2548


2541 Minutes
           of a Special Meeting of the Board of GMAC LLC, Oct. 31, 2008, at ALLY_PEO_0001307
    [ALLY_PEO_0001009].
2542 Key Components of Liquidity Drain, dated Oct. 30, 2008, at ALLY_0259009 [ALLY_0259003].

2543 Minutes
           of a Special Meeting of the Board of GMAC LLC, Oct. 31, 2008, at ALLY_PEO_0001307
    [ALLY_PEO_0001009].
2544 Id.

2545 SeeOrder Approving the Amount of Supersedeas Bond, dated Nov. 3, 2008, at EXAM10278908
    [EXAM10278905]; Order Approving the Amount of Supersedeas Bond, dated Nov. 3, 2008, at
    EXAM10278916 [EXAM10278913]; see also Legal Matters Update to the Residential Capital, LLC Audit
    Committee, dated Dec. 11, 2009, at RC40018301 [RC40018295]; E-mail from M. Riskey (Nov. 18, 2008)
    [EXAM10278903].
2546 Legal
         Matters Update to the Residential Capital, LLC Audit Committee, dated Dec. 11, 2009, at
    RC40018301 [RC40018295].
2547 Minutes
           of a Special Meeting of the Board of GMAC LLC, Nov. 11, 2008, at ALLY_PEO_0001313
    [ALLY_PEO_0001009].
2548 Id.



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      Following deliberations, the AFI Board unanimously resolved to restructure the bond
posting in the Mitchell litigation “with [AFI] replacing ResCap’s $100 million with the surety
provider.”2549 ResCap would retain first loss position of approximately $27 million, but would
obtain cash inflow of $100 million.2550 On the next day, November 12, 2008, the ResCap
Board approved the support offer, including the support in connection with the Mitchell
litigation bond.2551

               c. Appeal Decision

      On November 23, 2010, the Missouri Court of Appeals reversed the $99 million punitive
damages award and remanded the case for a new trial as to punitive damages.2552 At the initial
trial, the jury had been instructed to award punitive damages if either of the following
conditions were met: (1) the Mitchell Defendants were liable as assignees for the actions of
the mortgage loan originator (which liability the Mitchell Appeal Decision explains could only
be assigned pursuant to HOEPA); or (2) the Mitchell Defendants “were liable for their own
culpability in their own acts violating the MSMLA.”2553 As explained in the Mitchell Appeal
Decision, “to the extent Defendants’ liability depends on [the first condition] HOEPA
assignee liability, it is subject to the cap within 15 U.S.C. § 1641(d)(2) . . . . Consequently, the




2549 Id.

2550 Minutes  of a Special Meeting of the Board of GMAC LLC, Nov. 11, 2008, at ALLY_PEO_0001313
    [ALLY_PEO_0001009]. Alvaro de Molina, AFI’s CEO at the time, explained that ResCap expected to win
    the appeal and that the $27 million first loss position represented the legal team’s expectation of ResCap’s
    approximate “maximum exposure.” See Int. of A. de Molina, Nov. 20, 2012, at 175:19–177:17. Therefore,
    the $27 million exposure risk remained with ResCap and AFI took the “ResCap credit risk and put up the
    liquidity for the collateral.” See id. at 175:19–177:17.
2551 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Nov. 12, 2008, at RC40005906

    [RC40005652]. The ResCap Board directed delivery of, among other things, a “Letter Agreement regarding
    litigation bonds related to the Mitchell case” in connection with its November 20, 2008 consent to the Initial
    Line of Credit Security Agreement. See Unanimous Written Consent of the Board of Directors of Residential
    Capital, LLC, dated Nov. 20, 2008, at RC40005928 [RC40005652]. The Letter Agreement memorialized the
    terms of AFI’s support offer with respect to the Mitchell litigation bonds, including the requirement that any
    payments to be made would come from ResCap’s “first loss” collateral prior to any payment from AFI’s
    “second loss” collateral. See Letter Agreement Re: Litigation Bonds Relating to the Mitchell Case (Mayer
    Brown Draft), dated Nov. 16, 2008 [EXAM12079400]. Examiner’s Professionals requested production of an
    executed copy of the Letter Agreement from the Debtors and AFI. Neither party was able to recover an
    executed copy of the Letter Agreement.
2552 Mitchell Appeal Decision, at 484.

2553 Id. at 513.



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jury could not properly be instructed to award punitive damages based on assignee
liability.”2554 Because it was “impossible to ascertain” the basis upon which the jury awarded
punitive damages, the punitive damages award was reversed and remanded for retrial.2555

               d. Disposition Of Bond And Settlement Of Mitchell Litigation

    Upon remand of the Mitchell litigation to the trial court, ResCap “paid $12.8 million in
compensatory damages (including interest and attorneys’ fees).”2556

     On November 7, 2011, the Mitchell Plaintiffs, RFC and Homecomings Financial entered
into a “Stipulation to Release of RFC Defendants’ Supersedeas Bonds and Approval of
Substitute Bond,” which permitted the discharge and release of the supersedeas bonds that had
previously been posted in the aggregate amount of $127,453,591 and the substitution of a new
bond in the amount of $2 million.2557

     On November 14, 2011, approximately $112 million in “funds previously required to be
held as bond for the Mitchell case” were released to ResCap.2558

     In advance of receiving the funds, on November 3, 2011, Todd Stitt, a Director in Global
Funding and Liquidity at AFI, noted that the funds would be “unencumbered cash coming
back to Rescap and is simply a return of cash paid/expense that was recognized from
2008.”2559 Lombardo responded and explained, “the cash . . . will not be unencumbered
because a) it is covered under the blanket lien, and b) we will use that cash to repay the like
amount on the LOC with [AFI], unless less than this amount is O/S.”2560 In other words, to the
extent there was an outstanding balance on the A&R Line of Credit Facility, according to
Lombardo, ResCap would use the $112 million in Mitchell bond funds to pay down the
outstanding balance. In a November 16, 2011 presentation to the ResCap Board, the $112
million in Mitchell bond funds was shown as decreasing ResCap’s projected liquidity “need”
for June 2012, suggesting that ResCap retained the funds for its own purposes.2561
2554 Id.at 514. Although HOEPA creates assignee liability for purchasers of second mortgage loans, the
    consumer’s damages against the assignee are capped at the sum of: (1) the amount still owed by the
    consumer; and (2) the amount paid by the consumer “in connection with the transaction.” Id. at 513 (quoting
    15 U.S.C. § 1641(d)(2)).
2555 Id. at 514.

2556 Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and

    2010, at RC40034930 [RC40034857].
2557 Stipulation to Release of RFC Defendants’ Supersedeas Bonds and Approval of Substitute Bond, dated Nov.

    7, 2011, at EXAM00229991 [EXAM00229991].
2558 See ResCap Liquidity Update, dated Nov. 16, 2011, at RC40019986 [RC40019983]; E-mail from T. Stitt

    (Nov. 15, 2011) [EXAM10916320].
2559 E-mail from T. Stitt (Nov. 3, 2011) [EXAM10922744].

2560 E-mail from J. Lombardo (Nov. 3, 2011) [EXAM10922744].

2561 ResCap Liquidity Update, dated Nov. 16, 2011, at RC40019986 [RC40019983]. The Mitchell bond funds

    were also omitted from the list of projected cash outflows for the remainder of 2011. See id.

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     The Examiner’s Financial Advisors reviewed the books and records of ResCap for
November and December 2011 to determine whether any of the Mitchell bond funds were
returned to AFI. On November 14, 2011, the day ResCap received the $112 million in
Mitchell bond funds, ResCap borrowed approximately $217 million under the A&R Line of
Credit Facility, increasing its borrowings under that facility from approximately $452 million
to approximately $669 million.2562 From November 15, 2011 through November 21, 2011,
ResCap made incremental draws of approximately $184 million under the A&R Line of
Credit Facility.2563 The first paydown by ResCap on the A&R Line of Credit Facility
subsequent to the inflow of the Mitchell bond funds occurred on November 22, 2011 in the
amount of $143 million.2564 The Examiner concludes that the evidence supports the
proposition that ResCap did not directly transfer any of the returned Mitchell bond funds to
AFI.2565

     In February 2012, “RFC entered into an agreement in principle . . . to settle all of
plaintiffs’ remaining claims, including plaintiffs’ already-awarded attorneys’ fees on appeal,
for a total of $17.3 million.”2566 The settlement agreement was preliminarily approved on
April 16, 2012.2567 The hearing on final approval of the proposed settlement was scheduled for
May 18, 2012.2568 However, on May 14, 2012, the Petition Date occurred and the automatic
stay of litigation against the Debtors went into effect. Accordingly, the hearing for final
approval of the Mitchell settlement was continued indefinitely.2569

               e. Conclusion

     Based on the foregoing, the Examiner concludes that the only Causes of Action
implicated by the Mitchell bond transactions would be potential avoidance actions arising
from payments made by ResCap under the A&R Line of Credit Facility. An analysis of these
claims is provided in Section VII.F.

2562 See ResCap Liquid Cash Rollforward, dated Dec. 1, 2011 [EXAM00114709]; Ally Affiliate Debt Journals,

    dated 2008 through 2012 [EXAM00338635]. According to James Whitlinger, CFO of ResCap, ResCap
    intended to draw approximately $330 million from the A&R Line of Credit Facility on November 14, 2011
    but, after receiving the funds from the release of the Mitchell bond, only needed to borrow approximately
    $217 million. Teleconference with J. Whitlinger, CFO of ResCap (April 18, 2013).
2563 Ally Affiliate Debt Journals, dated 2008 through 2012 [EXAM00338635].

2564 See id.

2565 The Debtors maintained an outstanding balance on the A&R Line of Credit Facility on all dates through

    February 14, 2012, on which date the Debtors had no amounts outstanding. See ResCap Liquid Cash
    Rollforward, dated Apr. 2, 2012 [EXAM00114713].
2566 Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2011 and

    2010, at RC40034930 [RC40034857].
2567 Ally Financial Inc., Quarterly Report (Form 10-Q) (Apr. 27, 2012), at 72.

2568 Id.

2569 See Mitchell Case, WALTERS, BENDER, STROHBEHN & VAUGHAN, P.C., http://www.wbsvlaw.com/wbsv-

    cases/mitchell-case.

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H. SHARED SERVICES

    1. Background

      ResCap, AFI, and Old GMAC Bank/Ally Bank provided various financial, operational,
and administrative services (“Shared Services”)2570 to each other to varying degrees after
ResCap’s formation in 2005.2571 The Examiner evaluated the processes used by ResCap, AFI,
and Old GMAC Bank/Ally Bank for the provision of Shared Services and the allocation of
related costs, and the extent to which ResCap received adequate consideration for Shared
Services by and among ResCap, AFI, and Old GMAC Bank/Ally Bank. The Examiner
analyzed Shared Services over two prepetition time periods: (1) ResCap’s formation in April
2005 through December 2008; and (2) January 2009 through the Petition Date. The Examiner
also considered postpetition activities with regard to Shared Services.

    2. April 2005 Through December 2008

     The ResCap corporate group generally functioned independently within a decentralized
AFI corporate structure during the earlier portion of this time period.2572 However, in 2007,2573
and again in 2008,2574 there were concentrated efforts to increase efficiency by centralizing
functions. Shared Services by and among ResCap, AFI, and Old GMAC Bank/Ally Bank were
not evidenced by written agreements during this period, with the exception of services
provided by Ally Bank to its affiliates.2575 Rather, Shared Services were provided on an
informal, undocumented basis.2576
2570 The scope and nature of Shared Services changed over time, as described in this section.


2571 First Day Affidavit, at 82. See also, Int. of C. Dondzila, Sept. 27, 2012, at 42:16–43:10 (“a majority of the

    accounting activities related to bank business activities were actually performed by ResCap employees.”);
    E-mail from B. Yastine (Dec. 1, 2011) [ALLY_0304495] (noting the “operational entanglement” of ResCap
    and Ally Bank).
2572 See Memorandum, GMAC Global Functions, Mar. 15, 2007 [EXAM10063058].


2573 See id. (announcing that “staff functions . . . [would] be realigned into strong global functions” in areas

    including finance, information technology, communications, human resources, and legal).
2574 See Int. of T. Hamzehpour, Oct. 5, 2012, at 67:16-24 (discussing 2008 effort led by de Molina to further

    eliminate duplication and centralize “global functions”).
2575 Ally Bank executed Administrative Service Agreements with affiliates to comply with regulatory
    requirements regarding the provision of services to affiliates for fair value. See e.g., Administrative Services
    Agreement by and between Residential Funding Company, LLC and GMAC Bank, dated Oct. 31, 2006
    [ALLY_0017710]; Administrative Services and Facilities Agreement by and between GMAC Mortgage,
    LLC and GMAC Bank, et al., dated Nov. 22, 2006 [RC00028357].
2576 Declaration of James Whitlinger, Chief Financial Officer of Residential Capital, LLC, in Further Support of

    Entry of Final Orders for Specific “First Day” Motions [Docket No. 257] at 3. See also Declaration of Philip
    Marc Scheipe in Support of AFI’s Submission Regarding the Shares Services Agreement [Docket No. 1299]
    (where Scheipe asserts that some of the shared services historically were provided on a formally documented
    basis while others were provided on an informal, undocumented basis).

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     ResCap reported in its Annual Report (Form 10-K) for 2008 that it paid management fees to
AFI for finance, information technology, communications, corporate marketing, procurement,
and services related to facilities, and that ResCap received fees from AFI for “risk management”
services provided by ResCap in the amounts summarized in the table below.2577 The amounts
paid and received by ResCap encompassed its subsidiaries, which during this period included
Old GMAC Bank/Ally Bank.




     These disclosures do not indicate how ResCap and AFI allocated these costs. Documents
produced during the Investigation are likewise uninformative. The Debtors and AFI advised the
Examiner’s Professionals that only limited information exists regarding the processes and
allocation methodology used for Shared Services during this period for various reasons,
including personnel turnover and a lack of institutional knowledge from those years.2578
Accordingly, the available evidence does not support a finding with regard to the consideration
exchanged for Shared Services during this period.

     3. January 2009 Through May 14, 2012

     In January 2009, AFI completed the 2009 Bank Transaction and the acquisition of
ResMor.2579 The scope of Shared Services between ResCap and AFI expanded during 2009 as
functional service areas and departments were consolidated and centralized at AFI.2580 Shared
Services tracking and reporting improved because of this consolidation. ResCap, AFI, and Ally
Bank agreed to classify two basic categories of costs for Shared Services: (1) costs arising from
services “directly benefitting another domestic or foreign [business] unit,”2581 including rent,

2577 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2009), at 206.

2578 Meeting with Debtors and FTI, Financial Advisor to the Debtors, in Fort Washington, PA (Mar. 25, 2013).

2579 See Sections V.A. and V.F.

2580 Int.
        of C. Dondzila, Sept. 27, 2012, at 51:7–53:25, 64:23–65:22; Int. of T. Hamzehpour, Oct. 5, 2012, at
    64:7–65:9.
2581 An activity was generally considered to provide a benefit if the beneficiary of the service would be willing to

    pay a third party to perform the same or similar activity, or if the beneficiary would have performed the same or
    similar activity for itself. Meeting with AFI and Ally Bank, and Kirkland & Ellis, in Detroit, MI (Oct. 23, 2012);
    see also Ally Financial, Inc., ResCap Intercompany Activity with AFI (Sept. 24, 2012), at ALLY_0182794
    [ALLY_0182793].

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marketing, certain information technology, and certain legal costs2582 (“Direct Benefit Costs”);
and (2) costs expended “to protect the shareholders’ investment or to facilitate compliance
with reporting or regulatory requirements for the benefit of the shareholder” (“Stewardship
Costs”).2583 Shared Services cost allocations were often settled through intercompany
accounts, with certain Direct Benefit Costs settled on a cash basis, such as rent and some legal
costs.2584

             a. Cost Of Shared Services Provided By AFI To ResCap

      Because of AFI’s acquisition of Ally Bank and ResMor in January 2009, AFI no longer
charged ResCap for Direct Benefit Costs related to those entities. Also, AFI decided in 2009
that it would not charge ResCap for Stewardship Costs allocable to the mortgage segment.2585
This decision was not made until December 2009, at which time AFI forgave the outstanding
payable from ResCap in the amount of $195 million related to those allocable Stewardship
Costs.2586 AFI determined that it would allocate Stewardship Costs to ResCap thereafter for
internal managerial reporting purposes only.2587 In communicating these changes to AFI
personnel, Paul Grande, senior director of financial planning and analysis at ResCap,
explained:

                 During this year[’]s plan process it was decided that the [AFI]
                 Global Function charges would no longer be charged 100% to
                 the ResCap legal entity. Instead, the Direct Benefit charges
                 would be calculated as if [AFI] would separately charge
                 ResCap, Ally Bank and ResMor Bank. Then only the ResCap
                 LLC amount will be charged and settled with ResCap
                 LLC. [. . .] Stewardship charges in total will be charged on a
                 managerial basis only.2588




2582 Meeting with Debtors and FTI, Financial Advisor to the Debtors, in Fort Washington, PA (Mar. 25, 2013).

2583 Meeting with AFI and Ally Bank, in Detroit, MI (Oct. 24, 2012). See also Ally Financial, Inc., ResCap

    Intercompany Activity with AFI (Sept. 24, 2012), at ALLY_0182794 [ALLY_0182793].
2584 Meeting with Debtors and FTI, Financial Advisor to the Debtors, in Fort Washington, PA (Mar. 25, 2013).

2585 E-mail from P. Grande (Dec. 2, 2009), at ALLY_0182846 [ALLY_0182793].

2586 Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and

    2008 (Feb. 26, 2010), at EXAM00124502 [EXAM00124455]. See also Ally Financial, Inc., ResCap
    Intercompany Activity with AFI (Sept. 24, 2012), at ALLY_0182794 [ALLY_0182793] and E-mail from P.
    Grande (Dec. 2, 2009), at ALLY_0182846 [ALLY_0182793].
2587 E-mail from P. Grande (Dec. 11, 2009), at ALLY_0182847 [ALLY_0182793].

2588 Id.



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      The management fees charged to ResCap by AFI for Shared Services increased in 2009 and
2010 as reflected in the table below. Much of the increase resulted from the further centralization
of corporate services and functions, as reflected in the table below. The net amount of Shared
Services fees paid by ResCap to AFI represented the Direct Benefit Costs allocated by AFI to
ResCap.2589 This increase in management fees was offset, however, by the decrease in ResCap’s
total compensation and benefits expense because of the transfer of departments and employees to
AFI.




2589 See Project Bounce, Shared Services UCC Requests [EXAM00219984].



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      In preparing for ResCap’s chapter 11 filing (as further described below), ResCap and AFI
analyzed both the Direct Benefit Costs and Stewardship Costs allocated for managerial reporting
purposes on a monthly basis, breaking down the allocation by functional area in 2011 through
April 2012 (the “Prepetition Shared Services Analysis”). The Examiner’s Financial Advisors
analyzed the Debtors’ records of Stewardship Costs charged to the mortgage segment for the
benefit of ResCap and Ally Bank, and the Direct Benefit Costs allocated to ResCap for cash
settlement.2590 The table below summarizes the percentage of total Shared Services Costs
allocated by AFI to the mortgage segment for the benefit of ResCap and Ally Bank that were
charged to ResCap under the Prepetition Shared Services Analysis.




    The balance of the total Shared Services Costs allocated by AFI to the mortgage segment
primarily represented Stewardship Costs and costs associated with ResMor and Ally Bank.
These balances total approximately $230.8 million for 2010 and $216.2 million for 2011.

             b. Cost Of Shared Services Provided By ResCap To Ally Bank

     Regulations applicable to Ally Bank required that transactions with affiliates be on terms at
least as favorable to Ally Bank as those applicable to nonaffiliated companies.2591 Because
ResCap determined that the process of documenting the terms of comparable transactions with
nonaffiliated companies was difficult, it historically rendered services to Ally Bank at no




2590 Id.

2591 Federal Reserve Act, section 23B, “Restrictions on Transactions with Affiliates,” as implemented by Regulation

    W, requires that “A member bank and its subsidiaries may engage in [transactions involving the payment of
    money or the furnishing of services to an affiliate under contract, lease, or otherwise] only – (A) on terms and
    under circumstances, including credit standards, that are substantially the same, or at least as favorable to such
    bank or its subsidiary, as those prevailing at the time for comparable transactions with or involving other
    nonaffiliated companies, or (B) in the absence of comparable transactions, on terms and under circumstances,
    including credit standards, that in good faith would be offered to, or would apply to, nonaffiliated companies.”
    12 U.S.C. 371c – 1(a)(1).

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cost.2592 Prior to the 2009 Bank Transaction, this arrangement did not affect ResCap’s overall
financial results because AFI’s entire mortgage segment was consolidated within ResCap.
ResCap’s financial statements during the period 2009 through 2011 noted the following:

                 [ResCap] provides office facilities and a wide range of
                 administrative services, including legal, risk, capital markets,
                 finance and accounting, and information technology support to
                 Ally Bank under an administrative services agreement.2593 No
                 fees were collected during the year . . . for these facilities and
                 services. . . . [ResCap] contracts with Ally Bank to provide
                 document custody services including, certifications, releases,
                 reinstatements and file maintenance.2594

     The Examiner’s Financial Advisors analyzed various data prepared in connection with
the Prepetition Shared Services Analysis, as described below. While not comprehensive, the
review supports the Debtors’ contention that the value of uncompensated Shared Services
rendered by ResCap to Ally Bank was significantly less than the unallocated Stewardship
Costs not charged by AFI to ResCap from 2009 to 2011.2595

             c. Statements Of Work And Negotiations Of Shared Services In Preparation For
                ResCap’s Filing

     ResCap and AFI commenced a joint effort in 2011—the Prepetition Shared Services
Analysis—to document the services each company provided to the other or its Affiliates in
preparation for ResCap’s bankruptcy filing.2596 ResCap appointed groups of employees who
were knowledgeable regarding each functional service area.2597 These designated ResCap
employees engaged in frequent conversations and met on several occasions with their

2592 See, e.g., Memorandum, Administrative Services Agreement Between GMAC Mortgage and GMAC Bank

    (Aug. 1, 2007) [ALLY_0017837] (referencing statement that “[a]ll services provided under this agreement
    are at no charge to the Bank.”).
2593 See,e.g., Administrative Services Agreement by and between Residential Funding Company, LLC and
    GMAC Bank, dated Oct. 31, 2006 [ALLY_0017710]; and Administrative Services Agreement by and
    between GMAC Mortgage, LLC and GMAC Bank, dated Nov. 22, 2006; ResCap, LLC Quarterly Report
    (Form 10-Q) (May 11, 2009), at 558.
2594 Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2009 and

    2008, at EXAM00124556 [EXAM00124455].
2595 Meeting with FTI, Financial Advisor to the Debtors, in Fort Washington, PA (Mar. 25, 2013). Whitlinger

    explained that the uncompensated Shared Services provided by AFI and Ally Bank to ResCap were in excess
    of those provided by ResCap to Ally Bank.
2596 Declaration of James Whitlinger, Chief Financial Officer of Residential Capital, LLC, in Further Support of

    Entry of Final Orders for Specific “First Day” Motions [Docket No. 257] at 3; Meeting with FTI, Financial
    Advisor to the Debtors, in Fort Washington, PA (Mar. 25, 2013).
2597 Declaration of James Whitlinger, Chief Financial Officer of Residential Capital, LLC, in Further Support of

    Entry of Final Orders for Specific “First Day” Motions [Docket No. 257] at 3.

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counterparts at AFI and with ResCap’s counsel, Morrison & Foerster, resulting in the
production of over fifty detailed descriptions, or “Statements of Work” (“SOW”),2598
regarding the identified Shared Services.2599

     ResCap analyzed the SOW during the bankruptcy planning process to determine which
services were essential for continued operations during its bankruptcy and sale process.
ResCap engaged in negotiations with AFI over the course of several months to eliminate
services deemed unnecessary.2600 This process ultimately resulted in a significant reduction in
the services the two companies provided to each other.2601 Whitlinger explained:

                 [W]hen negotiations began between the companies, AFI was
                 seeking compensation for shared services in an amount of
                 approximately $300 million annually, which reflected the

2598 See, e.g., Affiliate Statement of Work for Accounting to Master Services Agreement Dated August 1, 2011

   [ALLY_PEO_0030748]; Affiliate Statement of Work for Capital Markets to Master Services Agreement
   Between Ally Bank and Residential Capital, LLC, dated August 1, 2011 [ALLY_PEO_0030703].
2599 Declaration of James Whitlinger, Chief Financial Officer of Residential Capital, LLC, in Further Support of

   Entry of Final Orders for Specific “First Day” Motions [Docket No. 257] at 3; Meeting with FTI, Financial
   Advisor to the Debtors, in Fort Washington, PA (Mar. 25, 2013). See also Int. of C. Dondzila, Nov. 9, 2012,
   at 214:18–215:6. To determine the cost of each of the Shared Services, the designated groups of employees
   conducted personnel surveys in each functional area to determine the percentage of time each employee
   typically spent performing work on certain tasks for the benefit of ResCap, AFI, or their various affiliates,
   including Ally Bank. These percentages were applied to the functional costs (e.g., salaries plus overhead) to
   determine the pricing basis for the tasks identified within each SOW. See Declaration of James Whitlinger,
   Chief Financial Officer of Residential Capital, LLC, in Further Support of Entry of Final Orders for Specific
   “First Day” Motions [Docket No. 257] at 4; Meeting with FTI, Financial Advisor to the Debtors, in Fort
   Washington, PA (Mar. 25, 2013).
2600 AFI  provided a number of cost allocation templates for various shared services that ResCap and AFI
   identified and negotiated, which illustrate the results of the efforts described above. For example, the cost
   allocation template for human resources included, among other data, the following: (1) identification of the
   various functional areas (e.g., benefits administration, compensation, employee relations, staffing
   administration); (2) description of the service provided; (3) identification of the entity providing the service
   (i.e., either ResCap or AFI); (4) identification of the entity receiving the service (i.e., either ResCap, AFI, or
   Ally Bank); (5) identification of any SOW, existing contract, or formal agreement, whether intercompany or
   with third parties; (6) the allocation methodology employed (e.g., time studies); and (7) the total expense
   allocation on a monthly or per annum basis for each service. See, e.g., Shared Services Analysis Cost
   Allocation Template, Human Resources [ALLY_0021129]; Shared Services Analysis Cost Allocation
   Template, ITG [ALLY_0021111]; and Shared Services Analysis Cost Allocation Template, Legal
   [ALLY_0021136].
2601 Meeting with FTI, Financial Advisor to the Debtors, in Fort Washington, PA (Mar. 25, 2013); Declaration of

   James Whitlinger, Chief Financial Officer of Residential Capital, LLC, in Further Support of Entry of Final
   Orders for Specific “First Day” Motions [Docket No. 257] at 2–4 (Whitlinger further indicates that
   negotiations resulted in a total of 31 SOWs for which AFI provided services to ResCap, and a total of 20
   SOWs for which ResCap provided services to AFI). See also Project Bounce, Shared Services UCC Requests
   [EXAM00219984] (indicating that services negotiated out included those related to Bank Holding Company
   status, information technology projects related to the general ledger and Basel compliance, and general
   accounting services).

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                 approximate annual cost of “shared services” for the total
                 mortgage operations over the last several years prior to the filing.
                 As a result of the intensive and thorough negotiations that
                 occurred between the two companies, the final cost to ResCap for
                 services provided by AFI [. . .] was reduced to $123 million – a
                 significant reduction reflecting the provision of services that are
                 absolutely necessary to the functioning of ResCap and its
                 subsidiaries as debtors in possession.2602

     The approximately $300 million in Shared Services to which Whitlinger referred above
includes Stewardship Costs and Direct Benefit Costs for the mortgage segment—ResCap,
Ally Bank and ResMor. The “final cost” of $123 million represented an increase of
approximately $55.3 million (or approximately 82%) from the 2011 Direct Benefit Costs
($67.7 million) paid by ResCap to AFI. This differential reflects postpetition several structural
and philosophical changes, including: (1) ResCap discontinued receiving certain Shared
Services; (2) AFI absorbed the costs for services previously provided by ResCap to Ally Bank
under the Administrative Services Agreement; (3) AFI transferred certain shared employees
and functions to ResCap to enhance corporate separateness; (4) and AFI began charging
ResCap for certain previously unallocated Stewardship Costs. The 82% increase in the cost of
Shared Services to ResCap when negotiated on a stand-alone basis supports the notion that
ResCap was receiving a prepetition net benefit relative to AFI and Ally Bank.

     The Examiner’s Financial Advisors analyzed the cost allocation templates prepared
through the Prepetition Shared Services Analysis that documented the nature and cost of
services related to six functional areas: information technology, human resources, treasury,
compliance, supply chain, and legal.2603 The Examiner’s Financial Advisors noted that, for
each functional area, the scope and cost of Shared Services provided by AFI for the benefit of
ResCap exceeded the scope and cost of Shared Services provided by ResCap for the Benefit
of AFI and Ally Bank.




2602 Declaration of James Whitlinger, Chief Financial Officer of Residential Capital, LLC, in Further Support of

   Entry of Final Orders for Specific “First Day” Motions [Docket No. 257] at 5.
2603 See Shared Services Analysis Cost Allocation Template, ITG [ALLY_0021111]; Shared Services Analysis

   Cost Allocation Template, Human Resources [ALLY_0021129]; Shared Services Analysis Cost Allocation
   Template, Treasury [ALLY_0004788]; Shared Services Analysis Cost Allocation Template, Compliance
   [ALLY_0004799]; Shared Services Analysis Cost Allocation Template, Supply Chain [ALLY_0004800];
   and Shared Services Analysis Cost Allocation Template, Legal [ALLY_0021136]).

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    4. Postpetition

     ResCap’s and AFI’s Shared Services analyses and negotiations culminated in the drafting
of the Shared Services Agreement, which the Bankruptcy Court approved, authorized, and
directed ResCap to execute on June 15, 2012, retroactive to the Petition Date.2604

     The Shared Services Agreement included various schedules detailing the functional areas
and services to be provided by either ResCap or AFI under the various SOW and the estimated
monthly variable or fixed cost for each service.2605 The services identified included, among
other things:

                  (i) information technology services; (ii) employee benefits
                  administration and other human resources functions;
                  (iii) accounting, tax and internal audit services; (iv) treasury and
                  collateral management; (v) risk management functions;
                  (vi) supply chain management, including procurement of goods
                  and services from third parties; (vii) government and regulatory
                  relations and compliance services; (viii) facilities management
                  services; (ix) marketing services; and (x) capital markets
                  services relating to managing the value of certain of the
                  Debtors’ loan servicing rights.2606

     The total monthly cost to ResCap for postpetition services provided by AFI was
estimated to be $10.2 million, while the total monthly cost to AFI for services provided by
ResCap postpetition was estimated to be $4.4 million. The resulting estimated monthly net
cash settlement of $5.8 million would be payable by ResCap to AFI.2607 The monthly cost of
postpetition Shared Services that ResCap agreed to provide to Ally Bank was $3 million2608 or
approximately $36 million per year.




2604 See Final Order Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Residential Capital, LLC to

    Enter Into a Shared Services Agreement with Ally Financial Inc. Nunc Pro Tunc to the Petition Date for the
    Continued Receipt and Provision of Shared Services Necessary for the Operation of the Debtors’ Businesses
    [Docket No. 387].
2605 Id. Ex. A.

2606 First Day Affidavit, at 84. The description of Shared Services evolved over time.

2607 Final Order Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Residential Capital, LLC to

    Enter Into a Shared Services Agreement with Ally Financial Inc. Nunc Pro Tunc to the Petition Date for the
    Continued Receipt and Provision of Shared Services Necessary for the Operation of the Debtors’ Businesses,
    at Exhibit A [Docket No. 387].
2608 Id. Schedule C-2 to the Shared Services Agreement estimated the monthly cost for information technology,

    capital markets, human resources, risk management, legal, accounting, finance, and consumer lending
    services rendered by ResCap to Ally Bank to be approximately $3 million.

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     5. AFI Proof Of Claim
     AFI filed a proof of claim related to “shared services” in ResCap’s Chapter 11 Cases,
asserting that “[b]efore the Petition Date, the Debtors did not satisfy certain amounts owed to
[AFI] or third-party vendors for various shared services provided by [AFI] for or on behalf of
the Debtors.”2609 AFI enumerated sixteen claims for “unreimbursed costs, expenses, or losses
that it has incurred in relation to prepetition shared services” totaling approximately $169.1
million, plus one additional claim for an unliquidated amount.2610 The four largest claims
accounted for $168.2 million of the total and included the following:
        •    Up to $98 million on account of pension underfunding for the Employees’
             Retirement Plan for GMAC Mortgage Group, LLC, which represents the amount of
             underfunding allocable to ResCap.
        •    Approximately $49 million on account of cash payments made or to be made by
             AFI to certain of the Debtors’ employees for delayed compensation pursuant to the
             Troubled Asset Relief Program under the Emergency Economic Stabilization Act of
             2008 earned by Debtors’ employees before the Petition Date.
        •    $15.8 million on account of ResCap’s portion of shared insurance coverage
             premiums, which were paid by AFI before the Petition Date.
        •    $5.4 million on account of ResCap’s allocable share of prepetition expenditures by
             AFI in relation to the construction of a mortgage information warehouse . . . in order
             to comply with the Basel Accords.2611
     Despite the characterization of this proof of claim as being related to “shared services,” it
appears that the vast majority of the amount relates to discrete compensation and benefit
claims rather than the allocable service charges that were the subject of the Examiner’s
inquiry. The Examiner’s Professionals have not investigated the status of any amounts paid or
objections filed by ResCap in regard to AFI’s proof of claim.
     6. Conclusion
     For the period of April 2005 through December 2008, the available evidence does not
permit a conclusion to be formed with regard to the consideration exchanged for Shared
Services.
     For the period of January 2009 through the Petition Date, when considering the excess of
unallocated Stewardship Costs over the likely amounts that remained uncompensated to
ResCap under the Administrative Services Agreement with Ally Bank, the Examiner
concludes that the evidence supports the proposition that ResCap received adequate
consideration for Shared Services by and among ResCap, AFI, and Ally Bank.
2609 Addendum to Proof of Claim of Ally (Nov. 6, 2012), at 16 [Claim No. 3974].

2610 Id. at 16–19.

2611 Id. at 16.



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